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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE



In re:                                                            Chapter 11

BIG LOTS, INC., et al.,                                           Case No. 24-11967 (___)

                 Debtors.1                                        (Joint Administration Requested)

                                                                  Hearing Date: TBD

                                                                  Objection Deadline:
                                                                  September 23, 2024 at 4:00 p.m. (ET)


                MOTION OF DEBTORS FOR ENTRY OF ORDERS
  (I) (A) APPROVING BIDDING PROCEDURES FOR SALE OF DEBTORS’ ASSETS,
 (B) APPROVING THE STALKING HORSE BID PROTECTIONS, (C) SCHEDULING
    AUCTION FOR, AND HEARING TO APPROVE, SALE OF DEBTORS’ ASSETS,
  (D) APPROVING FORM AND MANNER OF NOTICES OF SALE, AUCTION, AND
      SALE HEARING, AND (E) APPROVING ASSUMPTION AND ASSIGNMENT
    PROCEDURES, (II) (A) APPROVING SALE OF DEBTORS’ ASSETS FREE AND
        CLEAR OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES AND
       (B) AUTHORIZING ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES, AND (III) GRANTING RELATED RELIEF


         Big Lots, Inc. and certain of its affiliates (collectively, the “Debtors” or “Big Lots”), each

of which is a debtor and debtor in possession in the above -captioned chapter 11 cases (the

“Chapter 11 Cases”), hereby file this Motion of Debtors for Entry of Orders (I) (A) Approving

Bidding Procedures for Sale of Debtors’ Assets, (B) Approving the Stalking Horse Bid Protections,

(C) Scheduling Auction for, and Hearing To Approve, Sale of Debtors’ Assets, (D) Approving

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           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective employer identification numbers, are as follows: Great Basin, LLC (6158); Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores -
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores - CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin -
Granville Road, Columbus, OH 43081.
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Form and Manner of Notices of Sale, Auction, and Sale Hearing, and (E) Approving Assumption

and Assignment Procedures, (II) (A) Approving Sale of Debtors’ Assets Free and Clear of Liens,

Claims, Interests, and Encumbrances and (B) Authorizing Assumption and Assignment of

Executory Contracts and Unexpired Leases, and (III) Granting Related Relief (this “Motion”).

This Motion is supported by the (a) Declaration of Adam Rifkin in Support of Motion of Debtors

for Entry of Orders (I)(A) Approving Bidding Procedures for Sale of Debtors’ Assets,

(B) Approving the Stalking Horse Bid Protections, (C) Scheduling Auction for, and Hearing To

Approve, Sale of Debtors’ Assets, (D) Approving Form and Manner of Notices of Sale, Auction,

and Sale Hearing, and (E) Approving Assumption and Assignment Procedures, (II)(A) Approving

Sale of Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and

(B) Authorizing Assumption and Assignment of Executory Contracts and Unexpired Leases, and

(III) Granting Related Relief (the “Rifkin Declaration”), which is attached hereto as Exhibit A

and incorporated by reference herein, and (b) Declaration of Jonathan Ramsden as Chief

Financial and Administrative Officer of the Debtors in Support of the Debtors’ Chapter 11

Proceedings and First Day Pleadings [D.I. 3] (the “Ramsden Declaration” and, together with the

Rifkin Declaration, the “Declarations”), which was filed on the Petition Date and is incorporated

herein by reference. In further support of this Motion, the Debtors respectfully state as follows:

                                       Relief Requested

       1.      By this Motion, and pursuant to sections 105(a), 363, 365, 503, and 507 of title 11

of the United States Code (the “Bankruptcy Code”), rules 2002, 6004, 6006, 9007, and 9008 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2002-1, 6004-1,

and 9006-1 of the Local Rules for the United States Bankruptcy Court for the District of Delaware

(the “Local Rules”), the Debtors request entry of the following:



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                   a.      an order, substantially in the form attached hereto as Exhibit B
                           (the “Bidding Procedures Order”):

                           i.        authorizing and approving the bidding procedures, substantially in
                                     the form attached to the Bidding Procedures Order as Exhibit 1, and
                                     as otherwise modified by the Debtors in accordance with the bidding
                                     procedures (the “Bidding Procedures”), in connection with the sale
                                     of all or substantially all, or individual or any combination of, the
                                     Bid Assets (as defined below) (each, a “Sale Transaction”);2

                           ii.       approving the Bid Protections (as defined below) for the Stalking
                                     Horse Bidder (as defined below), in accordance with the terms and
                                     conditions set forth in the Stalking Horse APA;

                           iii.      scheduling an auction of the Bid Assets (the “Auction”) to be held
                                     on October 18, 2024, at 10:00 a.m. (prevailing Eastern Time);

                           iv.       scheduling a hearing (the “Sale Hearing”) to consider approval of
                                     a proposed Sale Transaction to be held on November 4, 2024 at
                                     10:00 a.m. (prevailing Eastern Time);3

                           v.        authorizing and approving the (A) notice of the sale of the Bid
                                     Assets, the Bid Deadline (each as defined below), the Auction, and
                                     the Sale Hearing, substantially in the form attached to the Bidding
                                     Procedures Order as Exhibit 2 (the “Sale Notice”), (B) notice to
                                     each relevant non-Debtor counterparty (each, a “Counterparty”) to
                                     an executory contract or unexpired lease listed on the Potential
                                     Assumed Contracts Schedule (as defined below) (collectively, the
                                     “Contracts and Leases” and each, an “Assumed Contract” or
                                     “Assumed Lease”) regarding the Debtors’ potential assumption and
                                     assignment of such Counterparty’s Assumed Contracts or Assumed
                                     Leases (collectively, the “Potential Assumed Contracts”) and the
                                     amount necessary to cure any defaults thereunder (the “Cure
                                     Costs”), substantially in the form attached to the Bidding
                                     Procedures Order as Exhibit 3 (the “Potential Assumption and
                                     Assignment Notice”), and (C) notice to each Counterparty listed on
                                     the Proposed Assumed Contracts Schedule (as defined below),
                                     substantially in the form attached to the Bidding Procedures Order
                                     as Exhibit 4 (the “Proposed Assumption and Assignment Notice”);
                                     and


         2
           As described herein, the Bidding Procedures provide that there may be one or several Sale Transactions.
To the extent that this Motion refers to the Sale Transaction (or terms related thereto) or Sale Order (as defined below)
in the singular, it shall include the plural as well, and vice versa.
         3
             This date remains subject to Court (as defined herein) approval.


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                       vi.     authorizing and approving procedures for the assumption and
                               assignment of the Contracts and Leases and the determination of
                               Cure Costs with respect thereto (collectively, the “Assumption and
                               Assignment Procedures”);

               b.      an order (the “Sale Order”) authorizing and approving:

                       i.      the sale of the Bid Assets free and clear of all liens, claims, interests,
                               and encumbrances, except certain permitted encumbrances as
                               determined by the Debtors and any purchaser of the Bid Assets; and

                       ii.     the assumption and assignment of the proposed Assumed Contracts
                               and Assumed Leases (collectively, the “Proposed Assumed
                               Contracts”) in connection with a proposed Sale Transaction; and

               c.      granting related relief.

                               Jurisdiction, Venue, and Authority

       2.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012.

       3.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). In

addition, the Debtors confirm their consent, pursuant to Local Rule 9013 -1(f), to the entry of a

final order by the Court in connection with this Motion to the extent that it is later determined that

the Court, absent consent of the parties, cannot enter a final order or judgment in connection

herewith consistent with Article III of the United States Constitution.

       4.      Venue of the Chapter 11 Cases and related proceedings is proper in this district

pursuant to 28 U.S.C. §§ 1408 and 1409.

                                            Background

A.     General Background

       5.      On September 9, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtors remain in possession of

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their property and continue to operate and manage their businesses as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request has been made for the

appointment of a trustee or examiner, and no official committee has been appointed in the Chapter

11 Cases. Contemporaneously herewith, the Debtors have filed a motion requesting the joint

administration of the Chapter 11 Cases pursuant to Bankruptcy Rule 1015(b) and Local

Rule 1015-1.

       6.         Information about the Debtors’ businesses and affairs, capital structure, and

prepetition indebtedness, and the events leading up to the Petition Date, can be found in the

Ramsden Declaration.

B.     The Bid Assets4

       7.         Big Lots is a one-stop shop home discount retailer. Big Lots’ mission is to help

customers “Live Big and Save Lots” by offering bargains on everything for their homes, including

furniture, décor, pantry essentials, kitchenware, groceries, and pet supplies . Headquartered in

Columbus, Ohio, Big Lots operates more than 1,300 stores across 48 states in the United States,

as well as an e-commerce store with expanded fulfillment and delivery capabilities.

       8.         As described more fully in the Ramsden Declaration, Big Lots sells an assortment

of products and merchandise in categories such as food, consumables (e.g., health, beauty,

cosmetic, plastic, paper, pet, infant, stationery, and chemical products), soft home products (e.g.,

apparel, hosiery, jewelry, frames, fashion bedding, utility bedding, bath, window, decorative

textile products, and area rugs), hard home products (e.g., small appliances, table top, food

preparation, home maintenance, and home organization products, toys, and electronics), furniture

(e.g., upholstery, mattresses, ready-to-assemble and home décor products, and case goods) and


       4
           The assets and operations described in this section are referred to herein, collectively, as the “Bid Assets.”


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seasonal products (e.g., lawn and garden, summer, and holiday products) to customers across the

country utilizing “brick and mortar” and online direct-to-customer sales channels.

       9.        Big Lots’ merchandising strategy focuses on product sourcing, particularly closeout

sourcing and global sourcing, implemented primarily through “Bargains” (i.e., offering products

believed to provide a good value at lower prices) and “Extreme Bargains” (i.e., offering products

that provide unmistakable value to customers). The Company delivers unmatched value in all

merchandise categories through high-quality closeouts on name brand items, affordable opening

price points, and low prices on Big Lots’ own brand assortment (e.g., Broyhill, Real Living, Sound

Body, and Fresh Findings). These bargain offerings are complemented with a reliable assortment

of simple-to-shop staple products that customers rely on and that bring consistency to Big Lots’

product mix.

       10.       Big Lots generally sources closeouts from production overruns, packaging changes,

discontinued products, order cancellations, liquidations, returns, and other disruptions in the

supply chains of manufacturers, but also from engineered closeouts and other sourcing options.

Big Lots has increased its sourcing and purchasing of high-quality closeout merchandise directly

from manufacturers and other vendors, typically at prices lower than those paid by traditional

discount retailers, to enhance the ability to deliver unmistakable value. While certain of Big Lots’

merchandise vendors deliver directly to Big Lots stores, the large majority of Big Lots’ inventory

is staged and delivered from five regional distribution centers located in Alabama, California, Ohio,

Oklahoma, and Pennsylvania. Big Lots does not operate any stores or facilities outside of the

United States.

       11.       Big Lots believes that its brand image—rooted in unmistakable value, surprising

products, and an exceptional shopping experience—is an important part of why its customers



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choose to shop at its stores and a critical element of the value proposition conveyed through all

customer touchpoints. Accordingly, Big Lots focuses its marketing strategy on communicating

Bargains and Extreme Bargains, driving incremental visits from new and existing customers,

increasing brand awareness, brand consideration, and customers, and driving personalized

marketing based on Big Lots’ customer data platform.

        12.     Big Lots also employs an integrated approach for its marketing touchpoints and

investments, consisting of (i) paid media, including television, print, digital, social media, internet,

email, and payment card-linked marketing, (ii) earned media, including public relations and

organic social media, and (iii) owned media, including Big Lots’ website, customer loyalty

programs, and in-store signage. Big Lots prioritizes its relationships with the approximately 20

million active members of its customer loyalty program (the “BIG Rewards Program”), as nearly

75% of the Company’s fiscal year 2023 sales were tied to this group of key customers .

C.      Marketing and Sale Process

        13.     To assist Big Lots in analyzing its financing needs and developing capital structure

solutions and restructuring alternatives, in May 2024, Big Lots retained Guggenheim Securities,

LLC (“Guggenheim Securities”) as its investment banker and A&G Realty Partners, LLC

(“A&G”) as its real estate advisor and Davis Polk & Wardwell LLP as legal counsel. Big Lots

also engaged AlixPartners, LLP (“AlixPartners”) as its operational advisor to conduct a footprint

assessment, assist with the business plan and transformation, accelerate cost savings and support

contingency preparations.

        14.     From May 2024 through the Petition Date, the Company, together with its advisors,

considered and exhaustively pursued a range of possible options, including: (i) seeking to raise

additional financing from new financing sources and existing stakeholders; (ii) soliciting interest

in strategic combinations; (iii) attempting to market and sell all or a portion of its assets and/or

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operations to third parties; and (iv) exploring a plan to close a portion (but not all) of its stores,

with a view towards restructuring around a smaller, right-sized footprint. The Company went to

great lengths to pursue all such options.

       15.     Unfortunately, despite these comprehensive efforts, during June 2024, the

Company concluded that, based on recent performance trends, the only viable pathway to maintain

its business as a going concern and preserve liquidity was to rationalize its footprin t, close

underperforming stores, and identify a purchaser for the remaining assets. In July 2024, the

Company initiated a first wave of store closing sales, which continued with a second wave of

closings in August 2024.

       16.     Big Lots conducted a marketing process for 13 weeks over the summer

commencing on or about June 3, 2024. Big Lots, with the assistance of Guggenheim Securities,

prepared marketing materials and contacted approximately 20 potential strategic and financial

purchasers. Of those potential purchasers, 12 entities executed non-disclosure agreements and

were provided with a confidential information memorandum and granted access to a virtual data

room containing confidential information regarding the Bid Assets. Big Lots will use the chapter

11 process to complete the marketing process.

       17.     Following an extensive prepetition marketing and sale process (as described above),

and a robust and arm’s-length negotiation, the Debtors exercised their business judgment (in

consultation with the Consultation Parties (as defined below)) and secured a going concern stalking

horse bid (the “Stalking Horse Bid”) from Gateway BL Acquisition, LLC, an affiliate of Nexus

Capital Management LP (the “Stalking Horse Bidder”) to purchase substantially all of the Bid

Assets for an aggregate purchase price (subject to certain adjustments) of approximately $760

million, consisting of $2.5 million in cash plus the Debt Payoff Amount (as defined in the Stalking



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Horse APA) and the assumption of certain liabilities, on the terms and conditions set forth in that

certain Asset Purchase Agreement, dated as of September 8, 2024, by and among Big Lots, Inc.

and each of its subsidiaries and the Stalking Horse Bidder (the “Stalking Horse APA”), a copy

of which is attached hereto as Exhibit C.

       18.     To maximize the value of the estates’ assets and elicit the highest or otherwise best

offers for the Bid Assets, the Debtors and their advisors (in consultation with key stakeholders)

developed the proposed Bidding Procedures to allow interested parties to provide bids that are

superior to the Stalking Horse Bid and submit bids for (a) all of the Bid Assets, (b) particular lots

of individual Bid Assets, or (c) combinations thereof, in each case, subject to the terms and

provisions of the Bidding Procedures. Pursuant to the Bidding Procedures, the Debtors intend to

continue marketing the Bid Assets to potential buyers and facilitating access to diligence materials.

Such materials would include a non-confidential presentation and, for those executing a

confidentiality agreement with the Debtors, access to a virtual data room, which would contain

confidential presentation materials, additional legal, financial, operational, and other information

on the Debtors, and, as appropriate, meetings with management.

       19.     The Debtors and their advisors have carefully evaluated a number of qualitative

and quantitative factors in designing a process that they believe would maximize the value of their

estates and produce maximum recoveries. This process principally includes a pproval of the

Bidding Procedures that are designed to promote active bidding and obtain the highest or otherwise

best offers available for the Bid Assets. Moreover, the Bidding Procedures provide the Debtors

with the flexibility to consider bids in the f orm of chapter 11 plans of reorganization.

       20.     The Debtors, in consultation with their advisors, believe that the process and time

periods set forth in the Bidding Procedures are reasonable and would provide parties with



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sufficient time and information necessary to formulate bids to purchase the Bid Assets. In

formulating the Bidding Procedures and time periods contained therein, the Debtors balanced the

need to provide adequate and appropriate notice to parties in interest and to potential purchasers

with the need to efficiently sell the Bid Assets to maximize realizable value, all the while

preventing the disclosure of confidential information to competitors that could be damaging to the

business. As described above and more fully in the Rifkin Declaration, the Bid Assets have been

marketed by the Debtors, with the assistance of Guggenheim Securities, to a broad group of

strategic and financial buyers and substantial information regarding the Bid Assets has been made

available during the marketing process. Accordingly, the Debtors believe that numerous parties

that may have an interest in bidding at the Auction are already familiar with the Bid Assets for the

purposes of formulating their bids. Furthermore, potential bidders would have access to updated

information prepared by the Debtors, with the assistance of Guggenheim Securities, and a

substantial body of information that resides in the Debtors’ virtual data room.

       21.     Speed and efficiency are critical, in light of the Debtors’ liquidity profile and the

Debtors’ obligations under the DIP Facilities, and the completion of the sale process in a timely

and efficient manner would help maximize the value of the Bid Assets for the benefit of all

stakeholders. The time periods set forth in the Bidding Procedures are prudent and consistent with

the case milestones under the DIP Facilities (the “DIP Milestones”) and were negotiated and

agreed to among the Debtors, with the advice of their advisors, and the DIP Agents: (i) PNC Bank,

National Association and (ii) 1903P Loan Agent, LLC (together, the “DIP Lenders”), and failure

to adhere to such time periods could jeopardize the closing of a Sale Transaction and the success

of the Chapter 11 Cases. Indeed, without sufficient funds to operate the Debtors’ businesses, the

Debtors may be left with no choice but to cease operations and liquidate their assets for a much-



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reduced value, to the detriment of all stakeholders. Thus, the Debtors have determined that

pursuing one or more transactions in the manner and within the time periods prescribed in the

Bidding Procedures is in the best interest of the Debtors’ estates an d would provide interested

parties with sufficient opportunity to participate.

        22.     Accordingly, the Debtors believe that approval of the Bidding Procedures and the

related relief requested in this Motion would allow the Debtors to efficiently maximize value and

is in the best interests of the Debtors, their estates and creditors, and all other parties in interest.

Therefore, the Debtors respectfully request that the Court grant the relief requested herein.

D.      The Stalking Horse Bid Protections

        23.     The Debtors seek authorization to enter into the transaction contemplated by the

Stalking Horse APA unless a higher or otherwise better Qualified Bid (as defined below) is

submitted with respect to such Bid Assets, as determined by the Debtors (in consulta tion with the

Consultation Parties) in accordance with the Bidding Procedures, and for the Stalking Horse Bid

to serve as the minimum bid for such Bid Assets.

        24.     Recognizing the Stalking Horse Bidder’s expenditure of time, energy and resources

in connection with the proposed transaction set forth in the Stalking Horse APA, and the benefit

that those efforts provided to the Debtors, their estates and creditors, and all other parties in

interest, the Debtors agreed to provide the following bid protections to the Stalking Horse Bidder,

payable if the Debtors consummate a sale pursuant to a Qualified Bid other than the Stalking Horse

Bid (if the assets subject to such sale include those to which the Stalking Horse Bid relates):

(a) payment of a break-up fee in an amount equal to $7.5 million (the “Break-Up Fee”) and

(b) reimbursement of the reasonable and documented fees and out-of-pocket expenses actually

incurred by the Stalking Horse Bidder (the “Expense Reimbursement” and, together with the

Break-Up Fee, the “Bid Protections”) in an amount up to $1.5 million; provided that the payment

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of any Break-Up Fee and/or Expense Reimbursement shall be subject to the terms and conditions

of the Stalking Horse APA and the DIP Order (as defined below).

E.        The Stalking Horse APA

          25.    The Stalking Horse APA includes various customary representations, warranties

and covenants by and from the parties thereto. In addition, the Stalking Horse APA includes certain

conditions to closing the contemplated Sale Transaction and rights of termination related to the

Chapter 11 Cases.

          26.    The Stalking Horse Bidder has also agreed to act as an Alternative Bidder (as

defined below) and, as such, if selected as an Alternative Bidder, hold open its binding offer to

purchase the Bid Assets for a period of time after the Auction in case the Succe ssful Bid (as defined

below) is not timely consummated, in accordance with the Bidding Procedures.

          27.    As the Stalking Horse APA is attached to this Motion, it is not restated herein in its

entirety. In accordance with Local Rule 6004-1, certain of the key terms of the Stalking Horse

APA are highlighted in the chart below.

                          MATERIAL TERMS OF THE STALKING HORSE APA
                           The Purchase Price is approximately $760 million, consisting of $2.5 million in cash plus
     Purchase Price        the Debt Payoff Amount and the assumption of certain liabilities.
                           See Stalking Horse APA § 3.01.

                           The Assets to be transferred include all right, title, and interest of the Debtors in, to, or
                           under all of their respective assets, rights, and properties, real, personal or mixed, tangible
                           and intangible, of every kind and description, wherever located and whether or not carried
                           or reflected on the books and records of the Selling Entities, in each case, as of the Closing,
                           including in, to, or under the following (and excluding the Excluded Assets) (i) all offices
                           and other facilities (ii) all tangible personal property and intangible property of the Selling
                           Entities wherever located, including all such property in transit or in the possession of any
     Transferred Assets    Person, including all equipment, machinery, vehicles, fixtures, supplies, furniture,
                           furnishings, leasehold improvements, signage, industry memorabilia, tools, vehicles,
                           hardware, peripherals, Systems, telephone systems, and other personal, movable and fixed
                           property, (iii) all inventory, (iv) all owned and leased real property, (v) all desired 365
                           contracts and other selected contracts, (vi) all transferable and assignable permits and
                           orders (except those that would impose a liability after Closing), (vii) all books, databases,
                           files, documents, instruments and other similar items, including telephone numbers, email
                           addresses and accounts, customer and supplier lists and contact information, mailing lists,
                           sales and promotional literature and other sales related materials and records (viii) all

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                      MATERIAL TERMS OF THE STALKING HORSE APA
                       rights, claims, accounts, and causes of action and all rights of indemnity, rights of
                       contribution, rights to refunds, rights of reimbursement and other rights of recovery, (ix)
                       all rights to any proceeds with respect to (i) any loss, destruction or condemnation of any
                       Asset or (ii) any Assumed Liabilities (other than with respect to Taxes) or the operation of
                       such Assets, (x) all warranty, indemnity, or other claims made under any assign contract,
                       (xi) all royalties, advance payments, prepayments, prepaid expenses, prepaid assets,
                       prepaid Property Taxes, and, in each case to the extent relating to Taxes that are Assumed
                       Liabilities, other Tax assets, security and other deposits or the like (other than Tax assets
                       that (A) are not prepaid Property Taxes and (B) do not relate to Taxes that are Assumed
                       Liabilities), (xii) all owned intellectual property, all rights to collect royalties and proceeds
                       in connection therewith with respect to the period from and after the Closing, all rights to
                       assert, defend, sue, and recover damages for any infringement, misuse, misappropriation,
                       impairment, unauthorized use or other violation of any rights in such intellectual property
                       and any and all corresponding rights secured with respect to any owned intellectual
                       property, (xiii) all goodwill, (xiv) any rights under non-disclosure or confidentiality, non-
                       compete, or non-solicitation agreements, (xv) other than with respect to taxes, all rights to
                       any credits, statements, rebates (including vendor or supplier rebates), reimbursement, or
                       rights of recoupment, recovery or set off, (xvi) all rights, claims, or causes of action
                       relating to or arising against suppliers, vendors, merchants, manufacturers, lease
                       counterparties, license counterparties and any other counterparty to any assigned contract
                       or real property interest, (xvii) all rights and benefits with respect to insurance policies (to
                       the extent transferable), insurance recoveries under any insurance policies that relate to the
                       assets or a ssumed liabilities, (xviii) all claims or causes of action arising under Sections
                       544, 547, 548, 549, and 550 of the Bankruptcy Code and any similar state applicable law,
                       and all other claims, causes of action, and all other rights of any kind in each case under
                       any other provision of the Bankruptcy Code or applicable laws, solely relating to vendors
                       and service providers used in the business after the Closing, (xix) all prepaid and deferred
                       items, including any royalties, advance payments, prepayments, prepaid expenses, prepaid
                       rentals prepaid assets, unbilled charges, fees, security and other deposits or the like
                       (excluding, for the avoidance of doubt, any items related to income Taxes); (excluding any
                       items related to income taxes), (xx) all Tax Returns that related exclusively to the assets
                       (other than income Tax Returns); provided that, the Debtors may retain copies of such Tax
                       Returns, (xx) all tax returns that related exclusively to the assets (other than income tax
                       returns), (xxi) all acquired proceedings, (xxii) all cash and cash equivalents (other than
                       retained cash), and (xxiii) all accounts receivable (and proceeds therefrom).
                       See Stalking Horse APA § 2.01(b).

                       The Assumed Liabilities include (a) all Liabilities solely to the extent arising from the
                       ownership or operation of the Business or Assets by Stalking Horse Bidder after the
                       Closing, (b) all of the Debtors’ obligations to perform under the Assigned Contracts in
                       accordance with their terms, solely to the extent such performance is required after the
                       Closing (and not arising from any pre-Closing breach or other failure to perform or satisfy
                       such obligations prior to the Closing by the Debtors), (c) all of Debtor’s and its
                       Subsidiaries Liabilities under the Real Property Interests, to the extent arising or
Assumed Liabilities    attributable to any period after the Closing, (d)(i) all Taxes solely to the extent resulting
                       from the use or operation of the Assets and the Business attributable to the Post-Closing
                       Tax Period, (ii) Taxes of the Debtors for a Pre-Closing Tax Period that would not have
                       been incurred but for an election by Buyer on the Closing Date that is retroactive to the
                       Pre-Closing Tax Period and not expressly contemplated by this Agreement or otherwise
                       agreed upon by the Debtors and (iii) and all Transfer Taxes; provided, that in no case will
                       Assumed Liabilities include Taxes or other Liabilities with respect to the Assets or the
                       Business with respect to which “responsible person” or similar claims may be made against
                       any Selling Entity’s or any Affiliate of a Selling Entity’s employees, managers, officers,


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                     MATERIAL TERMS OF THE STALKING HORSE APA
                      directors or similar persons with respect to any action or refusal to take action of such
                      Selling Entity or Affiliate of Selling Entity, including pursuant to any wage payment
                      statute, (e) the Assumed 503(b)(9) Claims, (f) the Assumed Accounts Payable, (g) all
                      Liabilities that are the responsibility of Buyer pursuant to Section 8.04(e) of the Stalking
                      Horse APA, and (h) Liabilities arising out of claims for workers’ compensation and
                      general liability claims and health care claims (including “IBNR”), including (i) Liabilities
                      in connection with the administration of such programs that are incurred after the Closing
                      and (ii) with respect to such IBNR under any Seller Benefit Plan .
                      See Stalking Horse APA § 2.03.
Sale to Insider
                      The Stalking Horse Bidder is not an “insider,” as such term is defined in section 101(31)
Local Rule 6004-      of the Bankruptcy Code, of any of the Debtors.
1(b)(iv)(A)
                      Prior to the Closing Date, the Debtors shall reasonably cooperative with the Stalking Horse
                      Bidder (i) to discuss the functions of the Company Employees, and (ii) the post-Closing
                      needs of the Business. For a period of at twelve (12) months following the Closing Date (or
                      until the date of termination of employment of the relevant Transferred Employee, if
Agreements with       sooner), the Stalking Horse Bidder shall provide each Transferred Employee with
Management or Key
                      compensation and other employee and fringe benefits (excluding any deferred
Employees
                      compensation, severance, retention, change in control, transaction, defined benefit pension,
Local Rule 6004-      stock purchase plans or post-employment welfare benefits) that are no less favorable in the
1(b)(iv)(B)           aggregate than the compensation and other employee and fringe benefits (subject to the
                      same exclusions) provided to such Transferred Employee immediately prior to the Closing
                      See Stalking Horse APA § 8.04(a)-(b).

                      As of Closing, each of the Debtors and the Stalking Horse Bidder (each a “Releasing
                      Party”), mutually releases discharges each other Releasing Party, and each other Releasing
Releases              Parties’ affiliated parties from any and all claims, interests, obligations, rights, suits,
                      damages, causes of action, remedies, and liabilities of every kind, nature and description,
Local Rule 6004-      except for any rights or obligations under the Stalking Horse APA, the other Transaction
1(b)(iv)(C)           Documents and the Confidentiality Agreement.
                      See Stalking Horse APA § 13.12(b).
                      This Motion contemplates an auction, and there is no provision in the Stalking Horse
Private Sale/No       APA pursuant to which, prior to the selection of a successful bidder, the Debtors have
Competitive           agreed not to solicit competing offers for the Bid Assets or to otherwise limit shopping
Bidding               of the Bid Assets.

Local Rule 6004-
1(b)(iv)(D)
                      Subject to the terms of the Sale Order and any other applicable order entered by the
                      Bankruptcy Court, the Closing shall occur two business days after the satisfaction or
Closing and Other     waiver of conditions set forth in Article 9, Article 10, and Article 11, unless another
Deadlines             place, date or time is agreed to in writing; provided that the Closing shall not occur
                      without the Stalking Horse Bidder’s prior written consent prior to the date that is 30 days
Local Rule 6004-      following its receipt of the fully executed Debt Commitment Letters.
1(b)(iv)(E)
                      See Stalking Horse APA § 4.01.
                      No later than two business days after the execution of the Stalking Horse APA, the
Good Faith Deposit    Stalking Horse Bidder will make a deposit in cash in the amount equal to the Cash
                      Purchase Price (the “Deposit Amount”).
Local Rule 6004-
1(b)(iv)(F)           See Stalking Horse APA § 3.02.


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                      MATERIAL TERMS OF THE STALKING HORSE APA
                       The Debtors and the Stalking Horse Bidder are not entering into any interim agreements
Interim
                       or arrangements in connection with the Stalking Horse Bid or pursuant to the Stalking
Arrangements with
                       Horse APA.
Stalking Horse
Bidder
Local Rule 6004-
1(b)(iv)(G)
                       If the Break-Up Fee and Expense Reimbursement become due and payable to the
                       Stalking Horse Bidder under the Stalking Horse APA, such amounts shall be paid in
Use of Proceeds
                       accordance with the terms and conditions provided for in the Stalking Horse APA, and
                       the DIP Order.
Local Rule 6004-
1(b)(iv)(H)            See Stalking Horse APA § 13.07.
                       The Debtors do not seek to have the sale of the Stalking Horse Assets in the Stalking
Tax Exemption          Horse Bid declared exempt from taxes under section 1146(a) of the Bankruptcy Code.

Local Rule 6004-
1(b)(iv)(I)
                       Until the earlier of the closure of the Bankruptcy Cases and seven years after the Closing
                       Date, Stalking Horse Bidder will use reasonable best efforts to not dispose or destroy any
Record Retention       of the Records received as Assets and will allow the Selling Entity and any of its respective
                       directors, officers, employees, counsel, Representatives, accountants and auditors
Local Rule 6004-       reasonable access during normal business hours, upon reasonable advance notices, to any
1(b)(iv)(J)            Record included in the Assets for the purposes relating to the Bankruptcy Cases and the
                       wind-down of the operations.
                       See Stalking Horse APA § 8.05.
                     The Stalking Horse Bidder will purchase all claims or causes of action arising under
Sale of Avoidance    Sections 544, 547, 548, 549, and 550 of the Bankruptcy Code and any similar state
Actions              applicable law, and all other claims, causes of action, and all other rights of any kind in
                     each case under any other provision of the Bankruptcy Code or applicable laws, solely
Local Rule     6004-
1(b)(iv)(K)          relating to vendors and service providers used in the business after the Closing.
                       See Stalking Horse APA §§ 2.01(b)(xviii), 2.02(l).
                       The assets sold in the Sale Transaction will be free and clear of, among other things, any
Requested Findings     claim arising from any conduct of the Debtors prior to the closing of the Sale Transaction,
as to Successor        whether known or unknown, whether due or to become due, whether accrued, absolute,
Liability              contingent, or otherwise, so long as such claim arises out of or relates to events occurring
                       prior to the closing of the Sale Transaction, other than Assumed 503(b)(9) Claims, the
Local Rule 6004-
                       Assumed Accounts Payable and Assumed Welfare Claims.
1(b)(iv)(L)
                       See Stalking Horse APA §§ 2.03, 2.04.
Sale Free and Clear    The transferred Assets do not include any unexpired Leases that are 365 Contracts.
of Unexpired Leases
                       See Stalking Horse APA § 2.01(b)(iv).
Local Rule 6004-
1(b)(iv)(M)
                       The Debtors do not seek to allow, disallow or affect in any manner credit bidding
Credit Bid
                       pursuant to section 363(k) of the Bankruptcy Code.
Local Rule 6004-
1(b)(iv)(N)




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                           MATERIAL TERMS OF THE STALKING HORSE APA
                            See paragraph 68 below.
     Relief from
     Bankruptcy Rule
     6004(h)
     Local Rule 6004-
     1(b)(iv)(O)
     Provisions             Break-up fee: payment of a break-up fee in an amount equal to $7.5 million.
     Providing Bid
                            Expense Reimbursement: reimbursement of the reasonable and documented fees and out-
     Protections to
                            of-pocket expenses actually incurred by the Stalking Horse Bidder, up to a maximum of
     “Stalking Horse” or
     Initial Bidder         $1.5 million.
                            See Stalking Horse APA §§ 1.01, 13.07.
     Local Rule 6004-
     1(c)(i)(C)

F.        The Proposed Sale and Bidding Procedures

          i.      Overview

          28.     The Bidding Procedures are designed to promote a competitive and efficient sale

process to maximize the value of the Bid Assets. If approved, the Bidding Procedures would allow

the Debtors to solicit and identify bids from potential buyers or investors that constitute the highest

or otherwise best offer for the Bid Assets on a schedule consistent with the deadlines under the

Stalking Horse APA, the DIP Milestones, and the Debtors’ strategy for maximizing value for their

stakeholders.

          29.     As the Bidding Procedures are attached to the Bidding Procedures Order, they are

not restated herein in their entirety. In accordance with Local Rule 6004 -1(c), certain of the key

terms of the Bidding Procedures are highlighted in the chart below. 5

                           MATERIAL TERMS OF THE BIDDING PROCEDURES
                            Throughout the Bidding Process, the Debtors, with the assistance of their advisors, will
                            regularly and timely consult with the following parties (collectively, the “Consultation
     Consultation Rights
                            Parties”): (i) PNC Bank, National Association, solely in its capacity as DIP ABL Agent,
                            Prepetition ABL Agent, and lender under the DIP ABL Facility and Prepetition ABL


          5
           To the extent that there is any inconsistency between the terms of the Bidding Procedures and the summary
of such terms in this Motion, the terms of the Bidding Procedures shall control. Capitalized terms used but not
otherwise defined in this summary shall have the meanings ascribed to such terms in the Bidding Procedures or the
DIP Motion, as applicable.


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                   MATERIAL TERMS OF THE BIDDING PROCEDURES
                    Facility (in such capacities, collectively, the “ABL Agent”); (ii) 1903P Loan Agent, LLC,
                    solely in its capacity as DIP Term Agent, Prepetition Term Loan Agent, and lender under
                    the DIP Term Loan Facility and Prepetition Term Loan Facility (in such capacities, the
                    “Term Agent”); and (iii) any official committee appointed in the Chapter 11 Cases (the
                    “Committee”), including in each case the legal and financial advisors thereto, as
                    applicable. The Debtors will provide updates as reasonably appropriate to the
                    Consultation Parties as to the status of the Bidding Process.
                    Each of the ABL Agent and the Term Agent shall be a Consultation Party unless and until
                    the ABL Agent and Term Agent, as applicable, has indicated to the Debtors (including
                    their advisors) in writing (which may be by email) that it intends to submit a bid in the
                    Bidding Process, at which point such ABL Agent and Term Agent, as applicable, shall not
                    be a Consultation Party.

                    Parts 1 and 2 of the Bidding Procedures set forth the Qualified Bid and Qualified
                    Bidder requirements.
                    A party may participate in the Bidding Process by submitting a bid for (a) all or
                    substantially all of the Bid Assets and/or (b) one or more, or any combination of, Bid
                    Assets as that party may desire.

                    The Bidding Procedures also provide that the Debtors, in consultation with the
                    Consultation Parties, may consider competing bids (each, a “Chapter 11 Plan Bid”) in
                    the form of a chapter 11 plan of reorganization (a “Chapter 11 Plan Transaction”),
                    subject to the requirements set forth in the Bidding Procedures.

                     A.     Interested Parties. Unless otherwise determined by the Debtors in consultation
                     with the Consultation Parties, to participate in the Bidding Process, Interested Parties
                     must deliver (unless previously delivered) the following items to Guggenheim
                     Securities:
Provisions              1. an executed confidentiality agreement in form and substance satisfactory to the
Governing                  Debtors (a “Confidentiality Agreement”);
Qualification of        2. a statement and other factual support demonstrating, to the Debtors’ satisfaction,
Bidders and                that the Interested Party has a bona fide interest in purchasing some or all of the
Qualified Bids             Bid Assets;
Local Rule 6004-        3. a description of the nature and extent of any due diligence the Interested Party
1(c)(i)(A)-(B)             wishes to conduct and the date in advance of the Bid Deadline by which such due
                           diligence will be completed; and
                        4. sufficient information, as ascertained by the Debtors, to allow the Debtors, to
                           determine that the Interested Party has the financial wherewithal and any required
                           internal corporate, legal, or other authorizations to close a Sale Transaction
                           pursuant to the Bidding Procedures, which may include current audited financial
                           statements of the Interested Party (or such other form of financial disclosure
                           acceptable to the Debtors) or, if the Interested Party is an entity formed for the
                           purpose of acquiring some or all of the Bid Assets, (i) current audited financial
                           statements of the equity holder(s) (the “Sponsor(s)”) of the Interested Party (or
                           such other form of financial disclosure acceptable to the Debtors) and (ii) a
                           written commitment acceptable to the Debtors that the Sponsor(s) are responsible
                           for the Interested Party’s obligations in connection with the Bidd ing Process.
                     If the Debtors determine after receipt of the items identified above, that an Interested
                     Party has a bona fide interest in purchasing some or all of the Bid Assets, such Interested
                     Party will be deemed a “Potential Bidder” and the Debtors will provide such Potential


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     MATERIAL TERMS OF THE BIDDING PROCEDURES
        Bidder with access to the Debtors’ confidential electronic data room concerning the Bid
        Assets (the “Data Room”). Each of PNC Bank, National Association, solely in its
        capacity as the ABL Agent, and 1903P Loan Agent, LLC, solely in its capacity as the
        Term Agent, shall automatically be deemed a Potential Bidder and shall not be required
        to submit any of the foregoing information.
        B.     Due Diligence. Until the Bid Deadline, in addition to granting access to the Data
        Room, the Debtors will provide Potential Bidders with due diligence access and
        additional information as may be requested by a Potential Bidder, to the extent that the
        Debtors determine that such requests are reasonable and appropriate under the
        circumstances. All due diligence requests shall be directed to Guggenheim Securities.
        The Debtors, with the assistance of Guggenheim Securities, will coordinate all
        reasonable requests for additional information and due diligence access from Potential
        Bidders.
        For any Potential Bidder that is a competitor of the Debtors (or an affiliate thereof), the
        Debtors reserve the right to withhold any diligence materials that the Debtors deem
        commercially sensitive or otherwise not appropriate for disclosure to such Potential
        Bidder, or to require that the Potential Bidder enter into a “clean team” or similar
        arrangement acceptable to the Debtors in order to receive such diligence materials.
        Unless otherwise determined by the Debtors, the availability of due diligence to a
        Potential Bidder will cease if (a) the Potential Bidder does not become a Qualified Bidder
        or (b) the Bidding Process is terminated in accordance with its terms.
        C.    Bid Deadline. A Potential Bidder who desires to be deemed a Qualified Bidder
        must deliver to Guggenheim Securities, with a copy to Davis Polk & Wardwell LLP
        (“Davis Polk”), 450 Lexington Avenue, New York, NY 10017 (Attn: Brian M. Resnick,
        Adam L. Shpeen, Stephen D. Piraino, and Ethan Stern), the Required Bid Documents (as
        defined below), so as to be received no later than October 15, 2024 at 5:00 p.m.
        (prevailing Eastern Time) (the “Bid Deadline”).
        The Debtors, without the need for further Court approval, may extend the Bid Deadline
        by a reasonable period of time, so long as such extensions are consistent with the DIP
        Milestones set forth in the DIP Credit Agreements or otherwise with the prior written
        consent of each DIP Agent, if the Debtors believe that such extension would further the
        goal of attaining the highest or otherwise best offer for the Bid Assets.
        D.       Bid Requirements.
             1. Required Bid Documents. All bids must be accompanied by the following items
                (collectively, the “Required Bid Documents”):
                a.   a letter stating that the bidder’s offer is irrevocable until consummation of a
                     transaction involving the Bid Asset(s) identified in such offer;
                b.   other than for any Chapter 11 Plan Bid, a duly authorized and executed
                     purchase agreement based on the form Stalking Horse APA, marked to show
                     any revisions, including the purchase price for the subject Bid Assets,
                     together with all exhibits and schedules thereto (including, a proposed form
                     of order approving the transaction(s) contemplated in such purchase
                     agreement). For the avoidance of doubt, a “conceptual” or “issues list”-style
                     markup of the form Stalking Horse APA would not satisfy this requirement;
                c.   each Chapter 11 Plan Bid must be accompanied by an executed investment
                     agreement, signed by an authorized representative of such bidder, pursuant
                     to which the bidder proposes to effectuate the Chapter 11 Plan Transaction,
                     in the form of a recapitalization transaction effectuated pursuant to a chapter
                     11 plan of reorganization, and must provide for a fully-committed investment


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     MATERIAL TERMS OF THE BIDDING PROCEDURES
                  of capital in exchange for substantially all of the equity of the reorganized
                  Debtors;
            d.    written evidence (i) demonstrating financial wherewithal, operational ability,
                  and corporate authorization to consummate the proposed transaction and (ii)
                  to the extent applicable, of a firm commitment for financing to consummate
                  the proposed transaction, in both cases, acceptable to the Debtors in their sole
                  discretion; and
            e.    a written acknowledgment that the bidder (i) has had an opportunity to
                  conduct any and all due diligence regarding the subject Bid Assets, the Sale
                  Transaction, and/or a Chapter 11 Plan Transaction, (ii) has relied solely upon
                  its own independent review, investigation, and/or inspection of any
                  documents and any other information in making the bid, (iii) did not rely
                  upon any written or oral statements, representations, promises, warranties, or
                  guaranties whatsoever, whether express, implied by operation of law, or
                  otherwise, by the Debtors or any of their advisors (including Guggenheim
                  Securities, AlixPartners and Davis Polk) or other representatives regarding
                  the bid, the Bid Assets, the Sale Transaction, the Chapter 11 Plan
                  Transaction, or the completeness or accuracy of any information provided in
                  connection therewith or with the Auction, except, solely with respect to the
                  Debtors and their estates, as expressly stated in these Bidding Procedures,
                  and (iv) the bidder did not engage in any collusive conduct and acted in good
                  faith in submitting its bid.
         2. Identity of Purchaser. Full disclosure of the legal identity of the purchaser
            (including any Sponsor(s), if the purchaser is an entity formed for the purpose of
            consummating the proposed transaction).
         3. Bid Assets; Consideration.
            a.    Other than for a Chapter 11 Plan Bid, identification of the Bid Asset(s) to be
                  purchased and the Contract(s) and Lease(s) to be assumed.
            b.    Other than for a Chapter 11 Plan Bid, clearly states which liabilities of the
                  Debtors or the Bid Assets would be assumed.
            c.    Includes a statement of proposed terms for employees, including a
                  description if its intentions with respect to the Debtors’ current management
                  team and other employees who are employed primarily in connection with
                  the applicable Bid Assets, (and a description of any contemplated incentive
                  plan, to the extend applicable).
            d.    Sets forth the consideration, including the form thereof, for the Bid Asset(s)
                  to be purchased and the Contract(s) and Lease(s) to be assumed (the “Bid
                  Consideration”); provided that, if not a Partial Bid, the consideration must
                  be at least equal to the following: (i) the consideration set forth in the
                  Stalking Horse Bid; plus (ii) the aggregate amount of the Bid Protections;
                  plus (iii) $2,000,000 (the “Minimum Overbid”).
         4. No Financing/Diligence Contingency. No condition on (i) the obtainment of
            financing or (ii) further due diligence.
         5. Regulatory Approvals. Includes a description of all governmental, licensing,
            regulatory, or other approvals or consents that are required to consummate the
            proposed transaction (including any antitrust approval related to the Hart-Scott-
            Rodino Antitrust Improvements Act of 1976, as amended), together with
            evidence satisfactory to the Debtors of the ability to obtain such approvals or
            consents as soon as reasonably practicable, and in no event later than 30 days


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     MATERIAL TERMS OF THE BIDDING PROCEDURES
               after the submission of such Bid, as well as a description of any material
               contingencies or other conditions that will be imposed upon, or that will otherwise
               apply to, the obtainment or effectiveness of any such approvals or consents.
          6. Not Less Favorable. If not a Partial Bid, such bid is not materially more
             burdensome, less favorable, or more conditional than the terms of the Stalking
             Horse APA, as determined by the Debtors in their sole discretion.
          7. Payment of DIP Obligations and Prepetition Secured Obligations. If not a Partial
             Bid, such bid includes a purchase price sufficient to pay in full in cash all DIP
             Obligations and Prepetition Secured Obligations or otherwise be agreed to by the
             DIP Credit Parties and the Prepetition Secured Creditors, all in their sole
             discretion. If a Partial Bid, the sum of all Partial Bids collectively results in a
             purchase price sufficient to pay in full in cash all DIP Obligations and Prepetition
             Secured Obligations or otherwise be agreed to by DIP Credit Parties and the
             Prepetition Secured Creditors, all in their sole discretion.
          8. Alternate Bidder. Must expressly state that the bidder agrees to serve as an
             Alternate Bidder if such bidder’s Qualified Bid is selected as the next highest or
             next best bid after the Successful Bid with respect to the subject Bid Assets.
          9. Good Faith Deposit. Is accompanied by a cash deposit by wire transfer to a
             Deposit Agent in an amount equal to ten percent (10%) of the consideration set
             forth in connection with such bid (the “Good Faith Deposit”).
          10. Authorized Representatives. A list setting forth the representatives that are
              authorized to appear and act on behalf of the bidder in connection with the
              proposed transaction.
          11. No Bid Protections. Statement that the bidder, with the exception of the Stalking
              Horse Bidder, will not seek any transaction or break-up fee, expense
              reimbursement, or similar type of payment and that it waives any substantial
              contribution administrative expense claims under section 503(b) of the
              Bankruptcy Code.
          12. Adequate Assurance. Evidence supporting the bidder’s ability to comply with
              section 365 of the Bankruptcy Code (to the extent applicable), including the
              provision of adequate assurance of such bidder’s ability to perform in the future
              under any Contract(s) and Lease(s) proposed in its bid to be assumed by the
              Debtors and assigned to the bidder, in a form that would permit the Debtors to
              disseminate immediately such evidence to the non-Debtor counterparties to such
              Contract(s) and Lease(s).
          13. Cure Costs. Indication whether or not the bidder will assume all Cure Costs
              associated with any Contracts and Leases it intends to assume.
        E.     Designation of Qualified Bids; Cure of Non-Qualifying Bids. The Debtors
        shall have the right to deem a bid a Qualified Bid even if such bid does not conform to
        one or more of the requirements above or does not include one or more Required Bid
        Documents; provided that such bid, or, in the case of a Partial Bid, the total amount of
        all Partial Bids, provides for a purchase price sufficient to pay in full in cash all DIP
        Obligations and Prepetition Secured Obligations or otherwise be agreed to by the DIP
        Credit Parties and the Prepetition Secured Creditors, all in their sole discretion. The
        Debtors will be authorized to approve joint bids in their reasonable discretion on a case-
        by-case basis. If the Debtors receive a bid prior to the Bid Deadline that is not a Qualified
        Bid, the Debtors may provide the bidder with the opportunity to remedy any deficiencies
        through and after the Bid Deadline. If any bid is determined by the Debtors not to be a
        Qualified Bid, and the applicable bidder fails to remedy such bid in accordance with the


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                        MATERIAL TERMS OF THE BIDDING PROCEDURES
                           Bidding Procedures, the Debtors, to the extent applicable, shall promptly instruct the
                           Deposit Agent to return such bidder’s Good Faith Deposit. Notwithstanding the
                           foregoing, the Stalking Horse Bidder shall be deemed a Qualified Bidder and the
                           Stalking Horse Bid shall be deemed a Qualified Bid for all purposes in connection with
                           these Bidding Procedures (including with respect to any Partial Bids), and the Stalking
                           Horse Bidder shall, without any further action, be entitled to participate in any Auction,
                           including with respect to any Partial Bids.
                           F.    Deemed Acknowledgments and Representations. Each Qualified Bidder shall
                           be deemed to acknowledge and represent that such bidder:
                              1. has reviewed, understands, and accepts the Bidding Procedures;
                              2. has consented to the jurisdiction of the Court;
                              3. intends to consummate its Qualified Bid if it is selected as the Successful Bidder;
                                 and
                              4. waives any and all rights (whether actual or potential) to contest any of the
                                 Debtors’ determinations made during, or in connection with, any aspect of the
                                 Bidding Process.

                         Part 3 of the Bidding Procedures sets forth the provisions governing Credit Bidding
                         Pursuant to section 363(k) of the Bankruptcy Code and subject to the terms and conditions
                         set forth in the DIP Order6, the DIP Loan Documents, and the Prepetition Credit Documents,
                         the DIP Credit Parties and the Prepetition Secured Creditors, consistent with the terms of that
                         certain Intercreditor Agreement, dated as of April 18, 2024, by and among the ABL Agent
                         and Term Agent (the “Intercreditor Agreement”), shall have the right to credit bid up to
  Provisions             the full amount of the applicable outstanding DIP Obligations and Prepetition Secured
  Governing Credit       Obligations, as the case may be, in any bulk or piecemeal sale of all, substantially all, or any
  Bidding                portion of the Bid Assets constituting DIP Collateral or Prepetition Collateral, as applicable;
  Local Rules 6004-      provided that any such credit bid must be submitted no later than the Bid Deadline and
  1(c)(i)(A)-(B) and     include cash consideration sufficient to satisfy the Carve Out, any senior liens on the
  6004-1(b)(iv)(N)       collateral that is subject to the credit bid (except to the extent otherwise agreed by the holders
                         of such senior liens in their sole and absolute discretion), and the applicable Bid Protections
                         payable to the Stalking Horse Bidder. If the DIP Credit Parties or the Prepetition Secured
                         Creditors submit a credit bid in accordance with the foregoing, and such bid is received by
                         the Bid Deadline, such bidder shall be deemed to be a Qualified Bidder and any such credit
                         bid shall be deemed to be a Qualified Bid (without the need for any Good Faith Deposit or
                         satisfying any other conditions set forth in Section 2).

                         Part 4 of the Bidding Procedures sets forth the provisions governing the Wind-Down
  Provisions Ensuring    Budget
  Funding of the
  Wind-Down Budget       At the closing of a Sale Transaction, after paying in full in cash all DIP Obligations and
                         Prepetition Secured Obligations, the Debtors shall deposit into a segregated account any
  Local Rule 6004-       additional net cash proceeds to be used for funding a reasonable wind -down budget
  1(c)(i)(A)-(B)         negotiated in good faith (the “Wind-Down Budget”).


        6
          “DIP Order” shall mean the Final Order Under Bankruptcy Code Sections 105, 361, 362, 363, 364, 503,
506, 507, and 552, and Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014 (I) Authorizing Debtors To (A) Obtain
Postpetition Financing and (B) Use Cash Collateral, (II) Granting (A) Liens and Providing Superpriority
Administrative Expense Status and (B) Adequate Protection To Prepetition Secured Creditors, (I II) Modifying
Automatic Stay, (IV) Scheduling A Final Hearing, and (V) Granting Related Relief.


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                     MATERIAL TERMS OF THE BIDDING PROCEDURES
                      Part 5 of the Bidding Procedures sets forth the provisions governing the Bid
                      Protections being provided to the Stalking Horse Bidder
                       Bid Protections. Recognizing the Stalking Horse Bidder’s expenditure of time, energy
                       and resources in connection with the proposed transaction set forth in the Stalking Horse
                       APA, and the benefit that those efforts provided to the Debtors, their estates and
                       creditors, and all other parties in interest, the Debtors agreed to provide the following bid
                       protections to the Stalking Horse Bidder, payable if the Debtors consummate a sale
Provisions             pursuant to a Qualified Bid other than the Stalking Horse Bid (if the assets subject to
Governing Bid          such sale include those to which the Stalking Horse Bid relates): (i) payment of a Break-
Protections to         Up Fee in an amount equal to $7.5 million and (ii) Expense Reimbursement in an amount
Stalking Horse         up to $1.5 million; provided that the payment of any Bid Protections shall be (a) subject
Bidder                 to the terms and conditions of the Stalking Horse APA and the DIP Order.
Local Rule 6004-       Until paid, any approved Break-Up Fee or Expense Reimbursement shall constitute
1(c)(i)(C)             allowed superpriority administrative expense claim (s) arising in the Chapter 11 Cases
                       under sections 503(b), 507(a)(2), and 507(b) of the Bankruptcy Code; provided, however,
                       that such superpriority administrative expense claim(s) shall be subject to the Carve-Out
                       (as defined in the DIP Order) and the Wind-Down Budget, and shall in no circumstance
                       be pari passu or senior to the claims granted to the DIP Credit Parties or the Prepetition
                       Secured Creditors; provided, further, that any requirement that the Stalking Horse Bidder
                       file a proof of claim for, or otherwise request allowance of, such superpriority
                       administrative expense claim(s) is hereby waived.

                      Part 6 of the Bidding Procedures sets forth the procedures governing the Auction.
                       A.     Date, Time, and Location. An Auction shall be held at the offices of Davis Polk
                       & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017 on October 18, 2024
                       at 10:00 a.m. (prevailing Eastern Time), or such later time on such day or such other
                       place as the Debtors, in consultation with each DIP Agent, shall notify all Participating
                       Parties.
                       B.       Participating Parties and Attendees. Attendance will be limited to the
                       representatives or agents (including legal and financial advisors) of (i) the Debtors,
                       (ii) the Consultation Parties, and (iii) the Qualified Bidders (including the Stalking Horse
Provisions             Bidder).
Governing the
Auction and            C.       Auction Procedures.
Permitting the              1. Notice of Qualification. Prior to the Auction, the Debtors will (a) notify each
Modification of                Qualified Bidder that has timely submitted a Qualified Bid that its bid is a
Bidding and                    Qualified Bid and (b) provide all Qualified Bidders with (i) copies of the Starting
Auction Procedures             Bid, (ii) an explanation of how the Debtors value the Starting Bid, and (iii) a list
Local Rules 6004-              identifying all of the Qualified Bidders.
1(c)(ii) and 6004-          2. Starting Bid. The first round of bidding at the Auction shall commence at the
1(c)(i)(D)                     Starting Bid. For the avoidance of doubt, the Starting Bid may be comprised of
                               multiple Qualified Bids if the aggregate consideration of such Qualified Bids is
                               higher and better than the Stalking Horse Bid.
                            3. Subsequent Bids. Bidding at the Auction will begin with the Starting Bid and
                               continue, in one or more rounds of bidding in the presence of all parties at the
                               Auction, so long as during each round at least one Subsequent Bid is submitted
                               by a Qualified Bidder that (a) improves upon such Qualified Bidder’s
                               immediately prior Qualified Bid and (b) the Debtors, in consultation with the
                               Consultation Parties, determine is (i) with respect to the first round, a higher or
                               otherwise better offer than the Starting Bid and (ii) with respect to subsequent


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                      MATERIAL TERMS OF THE BIDDING PROCEDURES
                               rounds, a higher or otherwise better offer than the Leading Bid, in each case
                               taking into account other Qualified Bids for other Bid Assets; provided that, with
                               respect to the first round, any Qualified Bid must provide incremental
                               consideration at least equal to the Minimum Overbid. In each subsequent round
                               after the first round, the Debtors, in consultation with the Consultation Parties,
                               may determine appropriate minimum bid increments or requirements for each
                               round of bidding. Notwithstanding anything herein to the contrary, any
                               Subsequent Bid by the Stalking Horse Bidder to the bid embodied in the Stalking
                               Horse APA, in any and all rounds of bidding, will be deemed to be comprised of
                               a credit in the full amount of the Break-Up Fee and Expense Reimbursement
                               Amount plus a cash bid for the remainder of the Purchase Price.
                           4. Highest or Best Offer. After the first round of bidding and between each
                              subsequent round of bidding, as applicable, the Debtors, in consultation with the
                              Consultation Parties, will determine and announce the bid or bids that they
                              believe to be the highest or otherwise best offer or combination of offers (the
                              “Leading Bid”). Additional consideration in excess of the amount set forth in
                              the Starting Bid may include cash and/or non-cash consideration; provided that
                              the value for such non-cash consideration shall be determined by the Debtors, in
                              consultation with the Consultation Parties.
                           5. Partial Bids. If any of the Qualified Bids submitted by the Bid Deadline are
                              structured as a Partial Bid, the Debtors (in consultation with the Consultation
                              Parties) may conduct separate auctions at the Auction for each lot of assets (each,
                              an “Auction Lot”) subject to a Partial Bid. The Debtors may, in consultation with
                              the Consultation Parties, combine multiple Partial Bids into an Auction Lot to
                              compete against the Stalking Horse Bid; provided, that the sum of all Partial Bids
                              collectively results in a purchase price sufficient to pay in full in cash all DIP
                              Obligations and Prepetition Secured Obligations or otherwise be agreed to by the
                              DIP Credit Parties and the Prepetition Secured Creditors, all in their sole
                              discretion. The Debtors may designate each Auction Lot at any time prior to the
                              Auction.
                           6. Modification of Bidding and Auction Procedures. The Debtors, in consultation
                              with the Consultation Parties, may employ and announce at the Auction
                              additional procedural rules for conducting the Auction (e.g., the amount of time
                              allotted to submit Subsequent Bids); provided that such rules shall (a) not be
                              inconsistent with the Bankruptcy Code, the Bidding Procedures Order, or any
                              other order of the Court entered in connection herewith and (b) be disclosed to all
                              Qualified Bidders.

                       Part 7 of the Bidding Procedures sets forth procedures by which the Debtors shall
                       select the Successful Bid(s) and Alternate Bid(s).
                        A.      Selection of Successful Bids. Prior to the conclusion of the Auction, the Debtors,
                        in consultation with the Consultation Parties, shall (i) review and evaluate each bid made
Provisions
Regarding Selection     at the Auction on the basis of financial and contractual terms and other factors relevant
                        to the Bidding Process, including those factors affecting the speed and certainty of
of Successful Bid
                        consummating the Sale Transaction and, in the case of a Chapter 11 Plan Transaction,
and Alternate Bid
                        the structure, confirmability, and feasibility of any proposed chapter 11 pla n (including
Local Rule 6004-        the proposed time and costs estimated to be necessary to negotiate, document, and obtain
1(c)(i)(E)              confirmation of such proposed chapter 11 plan), (ii) determine and identify the highest
                        or otherwise best offer or collection of offers (the “Successful Bid(s)”), (iii) determine
                        and identify the next highest or otherwise best offer or collection of offers
                        (the “Alternate Bid(s)”), and (iv) notify all Qualified Bidders participating in the
                        Auction of (a) the identity of the party or parties that submitted the Successful Bid(s)


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                       MATERIAL TERMS OF THE BIDDING PROCEDURES
                           (the “Successful Bidder(s)”), (b) the amount and other material terms of the Successful
                           Bid(s), (c) the identity of the party or parties that submitted the Alternate Bid(s) (the
                           “Alternate Bidder(s)”), and (d) the amount and other material terms of the Alternate
                           Bid(s).
                           Each Qualified Bidder shall agree and be deemed to agree to be the Alternate Bidder if
                           so designated.
                           B.      Execution of Definitive Documentation. As soon as reasonably practicable
                           after the completion of the Auction, the Successful Bidder(s) and the applicable Debtors
                           shall complete and execute all agreements, instruments, and other documents necessary
                           to consummate the applicable sale or other transaction(s) contemplated by the applicable
                           Successful Bid(s). Promptly following the selection of the Successful Bid(s) and
                           Alternate Bid(s), the Debtors will file a notice of the Successful Bid(s) and Alternate
                           Bid(s) with the Court, together with a proposed Sale Order.

                          Part 8 of the Bidding Procedures sets forth procedures regarding closing with
                          Successful Bidder(s) or Alternative Bidder(s).
                          The Sale Hearing will be held on November 4, 2024 at 10:00 a.m. (prevailing Eastern
                          Time) 7 before the Honorable [•], in the United States Bankruptcy Court for the District of
                          Delaware, 824 North Market Street, Wilmington, Delaware 19801, or by such other virtual
                          or electronic means as may be determined by the Court.
                          The Sale Hearing may be adjourned by the Debtors, in consultation with the Consultation
                          Parties, by an announcement of the adjourned date at a hearing before the Court or by filing
  Provisions              a notice on the Court’s docket. At the Sale Hearing, the Debtors will seek the Court’s
  Regarding Sale          approval of the Successful Bid(s) and, at the Debtors’ election, the Alternate Bid(s).
  Hearing and
  Closing with            The Debtors’ presentation to the Court of the Successful Bid(s) and Alternate Bid(s) will not
  Successful Bidders      constitute the Debtors’ acceptance of such bid(s), which acceptance will only occur upon
  and Alternative         approval of such bid(s) by the Court. Following the Court’s entry of the Sale Order, the
  Bidders                 Debtors and the Successful Bidder(s) shall promptly proceed to consummate the
                          transaction(s) contemplated by the Successful Bid(s). If the Debtors and the Successful
  Local Rule 6004-        Bidder(s) fail to consummate the proposed transaction(s), then the Debtors will file a notice
  1(c)(i)(E)              with the Court advising of such failure. Upon the filing of such notice with the Court, the
                          Alternate Bid(s) will be deemed to be the Successful Bid(s) and the Debtors will be
                          authorized, but not directed, to effectuate the transaction(s) with the Alternate Bidder(s)
                          subject to the terms of the Alternate Bid(s) of such Alternate Bidder(s) without further order
                          of the Court. If the failure to consummate the transaction(s) contemplated by the Successful
                          Bid(s) or Alternate Bid(s), as applicable, is the result of a breach by the Successful Bidder(s)
                          or Alternate Bidder(s), as applicable (the “Breaching Bidder(s)”), of its (their) asset
                          purchase agreement(s), the Debtors reserve the right to seek all available remedies from such
                          Breaching Bidder(s), subject to the terms of the applicable asset purchase agreement.


       ii.       Key Dates and Deadlines

       30.       Consistent with the Debtors’ need to consummate any sale of the Bid Assets as

efficiently as practicable in accordance with the DIP Milestones, the Debtors propose the following


       7
           This date remains subject to Court approval.


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key dates and deadlines for the Bidding Process, certain of which dates and deadlines may be

subject to extension in accordance with the Bidding Procedures:

  October 4, 2024 at 10:00 a.m.
  (prevailing Eastern Time), or    Hearing to consider approval of the Bidding Procedures and Stalking
  as soon thereafter as the        Horse Bidder’s Bid Protections for entry of the Bidding Procedures
  Debtors may reasonably be        Order
  heard

                                   Target date for the Debtors to file Potential Assumed Contracts
  October 8, 2024
                                   Schedule

  October 15, 2024, at 5:00 p.m.
                                   Bid Deadline
  (prevailing Eastern Time)

  October 18, 2024, at 10:00
  a.m. (prevailing Eastern         Auction (if any) to be held at the New York offices of Davis Polk
  Time)                            & Wardwell LLP


                                   Target date for the Debtors to file with the Court the Notice of
  October 22, 2024
                                   Successful Bidder (as defined below)

                                   Deadline to object to the Sale Transaction to the Successful Bidder, the
  October 25, 2024 at 4:00 p.m.
                                   Assumption and Assignment Objection Deadline (as defined below),
  (prevailing Eastern Time)
                                   and the Cure Objection Deadline (as defined below)

  November 4, 2024 at 10:00
  a.m. (prevailing Eastern
                                 Hearing to consider approval of the Sale Transaction(s) and for entry of
  Time) or as soon thereafter as
                                 the Sale Order(s)
  the Debtors may reasonably
  be heard


G.     Noticing Procedures

       31.     The Debtors propose the following “Noticing Procedures”:

               a.      Sale Notice and Publication. As soon as reasonably practicable after entry
                       of the Bidding Procedures Order, the Debtors shall cause the Sale Notice to
                       be served (by email if available or otherwise by first class mail) upon the
                       following: (i) the U.S. Trustee; (ii) Choate, Hall & Stewart LLP, as counsel
                       to the ABL Agent; (iii) Otterbourg P.C., as counsel to the Term Agent;
                       (iv) counsel to the Committee (if any); (v) counsel to the Stalking Horse
                       Bidder; (vi) Counterparties to Contracts and Leases; (vii) the Securities and
                       Exchange Commission; (viii) the Internal Revenue Service; (ix) the United
                       States Attorney’s Office for the District of Delaware; (x) the state attorneys
                       general for states in which the Debtors conduct business; (xi) all other

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      parties asserting a security interest in the assets of the Debtors to the extent
      reasonably known to the Debtors; (xii) all potential buyers previously
      identified or solicited by the Debtors or their advisors and any additional
      parties who have previously expressed an interest to the Debtors or their
      advisors in potentially acquiring the Bid Assets (or lot thereof); (xiii) all
      other known parties with any interest in the Bid Assets; (xiv) all of the
      Debtors’ other known creditors; and (xv) any party that, as of the filing of
      this Motion, has requested notice pursuant to Bankruptcy Rule 2002
      (collectively, the “Sale Notice Parties”); provided that the Debtors need
      not serve the Sale Notice on any party for whom the Debtors are unable to
      obtain, after reasonable diligence, an email or physical address as of the
      entry of the Bidding Procedures Order; provided, further, that the Debtors
      shall not be obligated to provide supplemental service of the Sale Notice
      with respect to any Sale Notice that is returned as undeliverable so long as
      the Debtors have confirmed that any such Sale Notice was sent to the
      applicable email or physical address on file in the Debtors’ books and
      records and no other email or physical address could be obtained after
      reasonable diligence. The Debtors would also cause the Sale Notice to be
      published once in the national edition of USA Today or another publication
      with similar national circulation as soon as practicable following entry of
      the Bidding Procedures Order and would post the Sale Notice and the
      Bidding Procedures Order on the Debtors’ case information website located
      at https://www.cases.ra.kroll.com/BigLots (the “Case Information
      Website”). This publication of the Sale Notice would provide notice of the
      sale to all interested parties whose identities are unknown to the Debtors.
      The Sale Notice would include the date, time, and place of the Auction and
      the Sale Hearing and the deadline f or filing any objections relating to the
      Bidding Procedures or any Sale Transaction, once they are set by the Court.

 b.   Notice of Determination of Qualified Bids. The Debtors shall make a
      determination regarding which bids qualify as Qualified Bids. Prior to the
      Auction, the Debtors would (i) notify each Qualified Bidder that has timely
      and properly submitted a Qualified Bid that its bid is a Qualified Bid and
      (ii) provide all Qualified Bidders with (A) a copy of the Starting Bid, (B) an
      explanation of how the Debtors value the Starting Bid, and (C) a list
      identifying all of the Qualified Bidders and their respective Qualified Bids.

 c.   Notice of Hearing if Auction Not Held. If (i) no Qualified Bid other than
      the Stalking Horse Bid is timely and properly submitted by the Bid Deadline
      for the Bid Assets comprising the Stalking Horse Bid, (ii) multiple Partial
      Bids are timely and properly submitted by the Bid Deadline for non-
      overlapping lots of the Bid Assets that, in the aggregate, do not exceed the
      amount of the Stalking Horse Bid for such Bid Assets, or (iii) multiple
      Partial Bids are submitted by the Bid Deadline for non-overlapping lots of
      Bid Assets excluded from the Stalking Horse Bid, the Debtors may, in their
      sole discretion and in consultation with the Consultation Parties, elect to
      cancel the Auction and seek approval of the transactions contemplated in

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                      the Stalking Horse Bid and Partial Bids, as applicable, at the Sale Hearing.
                      If no Auction is to be conducted, the Debtors would file with the Court,
                      serve on the Sale Notice Parties, and cause to be published on the Case
                      Information Website a notice (i) indicating that the Auction for the Bid
                      Assets has been canceled, (ii) indicating that the Stalking Horse Bid and
                      Partial Bids (as applicable) is or are the Successful Bid(s) with respect to
                      the Bid Assets, and (iii) setting forth the date and time of the Sale Hearing.

               d.     Notice of Auction Results. Promptly following the selection of the
                      Successful Bid(s) and Alternate Bid(s), the Debtors will file a notice of the
                      (i) Successful Bidder(s) for the Assets, (ii) the Alternate Bidder(s), if
                      applicable, (iii) the key terms of the proposed Sale Transaction, (iv) the date,
                      time, and place of the Sale Hearing, and (v) the Sale Objection Deadline
                      (the “Notice of Successful Bidder”) with the Court and cause the Notice of
                      successful Bidder to be published on the Case Information Website.

       32.     The Noticing Procedures constitute adequate and reasonable notice of the key dates

and deadlines for the Bidding Process, including the objection deadline, the Bid Deadline, and the

times and locations of the Auction and Sale Hearing. Accordingly, the Deb tors request that the

Court find that the Noticing Procedures are adequate and appropriate under the circumstances and

comply with the requirements of Bankruptcy Rule 2002 and Local Rule 2002 -1.

H.     Assumption and Assignment Procedures

       33.     In connection with one or more Sale Transactions, the Debtors anticipate that they

would assume and assign to the Successful Bidder (or its designated assignee(s)) all or certain of

the Assumed Contracts and Assumed Leases pursuant to section 365(b) of the Bankruptcy Code.

Accordingly, the Debtors hereby also seek approval of the proposed Assumption and Assignment

Procedures set forth herein, which are designed to, among other things, (a) outline the process by

which the Debtors would serve notice to all Counterparties regarding the potential assumption and

assignment, related Cure Costs, if any, and information regarding a Successful Bidder’s adequate

assurance of future performance and (b) establish objection and other relevant deadlines and the

manner for resolving disputes relating to assumption and assignment of the Assumed Contracts

and Assumed Leases. Specifically, the Assumption and Assignment Procedures are as follows:

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 a.   Potential Assumed Contracts Schedule. As soon as reasonably
      practicable following entry of the Bidding Procedures Order, the Debtors
      shall file with the Court, and cause to be published on the Case Information
      Website, the Potential Assumption and Assignment Notice and a list of the
      Potential Assumed Contracts (the “Potential Assumed Contracts
      Schedule”) that specifies (i) each of the Contracts and Leases that
      potentially could be assumed and assigned in connection with the sale of
      the Bid Assets, including the name of each Counterparty, and (ii) the
      proposed Cure Cost with respect to each Potential Assumed Contract.

 b.   Potential Assumption and Assignment Notice. The Debtors shall, as soon
      as reasonably practicable after entry of the Bidding Procedures Order (but
      in any event, so as to provide sufficient notice such that any required
      responses from any Counterparties are due prior to the scheduled date of the
      Auction as specified in the Bidding Procedures), file, cause to be published
      on the Case Information Website, and serve on each relevant Counterparty
      the Potential Assumption and Assignment Notice, which shall (i) include
      the Potential Assumed Contracts Schedule, (ii) list the Debtors’ good faith
      calculation of the Cure Costs with respect to the Potential Assumed
      Contracts identified on the Potential Assumed Contracts Schedule,
      (iii) expressly state that assumption or assignment of an Assumed Contract
      or Assumed Lease is not guaranteed and is subject to designation by the
      Successful Bidder and Court approval, (iv) prominently display the
      deadline to file an Assumption and Assignment Objection (as defined
      below), and (v) prominently display the date, time, and location of the Sale
      Hearing.

 c.   Proposed Assumption and Assignment Notice. The Debtors shall, in
      conjunction with the filing of the Notice of Successful Bidder, file, cause to
      be published on the Case Information Website, and serve on each relevant
      Counterparty a Proposed Assumption and Assignment Notice, which shall
      (i) include a schedule of the Proposed Assumed Contracts (the “Proposed
      Assumed Contracts Schedule”) as agreed between the Debtors and the
      applicable Successful Bidder, (ii) expressly state that assumption or
      assignment of an Assumed Contract or Assumed Lease is not guaranteed
      and is subject to Court approval, (iii) prominently display the deadline to
      file an Assumption and Assignment Objection, and (iv) prominently display
      the date, time, and location of the Sale Hearing.

 d.   Assumption and Assignment Objections.

      i.     Objection Deadlines. Any Counterparty may object to the potential
             or proposed assumption or assignment of its Assumed Contract or
             Assumed Lease, the Debtors’ proposed Cure Costs, if any, or the
             ability of a Successful Bidder to provide adequate assurance of
             future performance (an “Assumption and Assignment
             Objection”). All Assumption and Assignment Objections must (A)

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            be in writing, (B) comply with the Bankruptcy Code, the
            Bankruptcy Rules, and the Local Rules, (C) state, with specificity,
            the legal and factual bases thereof, including, if applicable, the Cure
            Costs the Counterparty believes are required to cure any alleged
            defaults under the relevant Assumed Contract or Assumed Lease,
            (D)(1) for objections relating to proposed Cure Costs, be filed no
            later than October 21, 2024 at 4:00 p.m. (prevailing Eastern Time)
            (the “Cure Objection Deadline”) and (2) for all other objections,
            October 25, 2024 at 4:00 p.m. (prevailing Eastern Time) (the
            “Assumption and Assignment Objection Deadline”), and (E) be
            served on (1) proposed counsel to the Debtors, (y) Davis Polk &
            Wardwell LLP, 450 Lexington Avenue, New York, NY 10017, Attn:
            Brian M. Resnick, Esq., Adam L. Shpeen, Esq., Stephen D. Piraino,
            Esq., and Ethan Stern Esq. (notice.biglots@davispolk.com) and (z)
            Morris, Nichols, Arsht & Tunnell LLP, 1201 N. Market Street, 16th
            Floor, Wilmington, DE 19801, Attn: Robert J. Dehney, Sr., Esq.,
            Andrew R. Remming, Esq., Daniel B. Butz, Esq., Tamara K. Mann,
            Esq., and Casey B. Sawyer, Esq. (biglots.mnat@morrisnichols.com),
            (2) counsel to the ABL Agent, (y) Choate, Hall & Stewart LLP, Two
            International Place, Boston, MA 02110, Attn: John F. Ventola, Esq.
            (jventola@choate.com),         Jonathan     D.       Marshall,     Esq.
            (jmarshall@choate.com), and            Jacob      S.    Lang,      Esq.
            (jslang@choate.com), and (z) Blank Rome LLP, 1201 N. Market
            Street, Suite 800, Wilmington, DE 19801, Attn: Regina Stango
            Kelbon, Esq. (regina.kelbon@blankrome.com) and Stanley Tarr,
            Esq. (stanley.tarr@blankrome.com), (3) counsel to the Term Agent,
            (y) Otterbourg P.C., 230 Park Avenue, New York, NY 10169, Attn:
            Chad B. Simon, Esq. (CSimon@otterbourg.com), James V. Drew,
            Esq. (JDrew@otterbourg.com), and Sarah L. Hautzinger, Esq.
            (shautzinger@otterbourg.com) and (z) Richards, Layton & Finger,
            P.A., 920 N. King Street, Wilmington, DE 19801, Attn: John H.
            Knight, Esq. (knight@rlf.com), (4) counsel to the Committee (if
            any), (5) counsel to the Stalking Horse Bidder, Kirkland & Ellis LLP,
            601 Lexington Avenue, New York, New York 10022, Attn:
            Christopher Marcus, P.C. (cmarcus@kirkland.com), Douglas A.
            Ryder, P.C. (douglas.ryder@kirkland.com), and Nicholas M.
            Adzima (nicholas.adzima@kirkland.com), and (6) the U.S. Trustee,
            Caleb Boggs Federal Building, 844 King Street, Suite 2207,
            Lockbox 35, Wilmington, Delaware 19801, Attn: Linda J. Casey
            (linda.casey@usdoj.gov) (collectively, the “Assumption and
            Assignment Objection Notice Parties”).

      ii.   Resolution of Assumption and Assignment Objections. If a
            Counterparty timely files an Assumption and Assignment Objection,
            such objection shall be heard at the Sale Hearing or such later date
            that the Debtors, in their sole discretion and in consultation with the
            Successful Bidder, shall determine (subject to the Court’s calendar).

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             If such objection has not been resolved prior to the closing of the
             Sale Transaction (whether by an order of the Court or by agreement
             with the Counterparty), each Successful Bidder may elect, in its sole
             and absolute discretion, one of the following options: (A) treat such
             Counterparty’s contract or lease as property excluded from the Bid
             Assets (an “Excluded Contract” or “Excluded Lease,”
             respectively) or (B) temporarily treat the Proposed Assumed
             Contract as an Excluded Contract or Excluded Lease, as applicable
             (a “Designated Agreement”), proceed to the closing of the Sale
             Transaction with respect to all other Bid Assets, and determine
             whether to treat the Designated Agreement as an Assumed Contract
             or Assumed Lease, as applicable, or an Excluded Contract or
             Excluded Lease, as applicable, within ten business days after
             resolution of such objection (whether by the Court’s order or by
             agreement of the Counterparty, the Debtors, and the applicable
             Successful Bidder).

      iii.   Failure To File Timely Assumption and Assignment Objection. If a
             Counterparty fails to timely and properly file with the Court and
             serve on the Assumption and Assignment Objection Notice Parties
             a timely Assumption and Assignment Objection, the Counterparty
             shall be forever barred from asserting any such objection with regard
             to the assumption or assignment of its Assumed Contract or
             Assumed Lease. Notwithstanding anything to the contrary in the
             Assumed Contract or Assumed Lease, or any other document, the
             Cure Costs set forth in the Potential Assumed Contracts Schedule or
             the Supplemental Assumed Contracts Schedule (as defined below)
             shall be controlling and would be the only amount necessary to cure
             any alleged outstanding defaults under the applicable Assumed
             Contract or Assumed Lease under section 365(b) of the Bankruptcy
             Code arising out of or related to any events occurring prior to the
             Petition Date, whether known or unknown, due or to become due,
             accrued, absolute, contingent, or otherwise, and the Counterparty
             shall be forever barred from asserting any additional cure or other
             amounts with respect to prepetition defaults under such Assumed
             Contract or Assumed Lease against the Debtors, the Successful
             Bidder, or the property of any of them.

 e.   Modification of Potential Assumed Contracts Schedule or Proposed
      Assumed Contracts Schedule.

      i.     In addition to the rights of a Successful Bidder described above with
             respect to an Assumption and Assignment Objection at or prior to
             the closing of a Sale Transaction, each Successful Bidder may elect,
             in its sole and absolute discretion, to (A) exclude from the Proposed
             Assumed Contracts Schedule any Contract or Lease on the Potential
             Assumed Contracts Schedule (as amended or supplemented) (in

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             which case it shall become an Excluded Contract or Excluded Lease,
             as applicable) or (B) include on the Proposed Assumed Contracts
             Schedule any Contract or Lease listed on the Potential Assumed
             Contracts Schedule (in each case, as amended or supplemented), by
             providing to the Debtors written notice of its election to exclude or
             include such Contract or Lease, as applicable.

      ii.    If the Debtors or any Successful Bidder identify during the pendency
             of the Chapter 11 Cases (before or after the closing of the applicable
             Sale Transaction) any Contract or Lease that is not listed on the
             Proposed Assumed Contracts Schedule, and such Contract or Lease
             has not been rejected by the Debtors, such Successful Bidder may,
             in its sole and absolute discretion, elect by written notice to the
             Debtors to treat such Contract or Lease as an Assumed Contract or
             Assumed Lease, as applicable, and the Debtors may seek to assume
             and assign such Assumed Contract or Assumed Lease in accordance
             with the Assumption and Assignment Procedures.

      iii.   Following the conclusion of the Auction, if any, and the selection of
             the Successful Bidder(s), the Debtors reserve the right, at any time
             before the closing of the Sale Transaction(s), to modify the
             previously-stated Cure Costs associated with any Proposed
             Assumed Contract, subject to notice requirements in the
             Assumption and Assignment Procedures.

      iv.    In the event that any Contract or Lease is added to the Potential
             Assumed Contracts Schedule or the Proposed Assumed Contracts
             Schedule, or previously-stated Cure Costs are modified, in
             accordance with the procedures set forth in this Motion, the Debtors
             would promptly file, cause to be published on the Case Information
             Website, and serve a supplemental assumption and assignment
             notice, by email or ECF where available, or otherwise by first class
             mail, on the applicable Counterparty (each, a “Supplemental
             Assumption and Assignment Notice”). Each Supplemental
             Assumption and Assignment Notice shall (A) include a schedule of
             the modified Potential Assumed Contracts Schedule or Proposed
             Assumed Contracts Schedule (the “Supplemental Assumed
             Contracts Schedule”), (B) expressly state that assumption or
             assignment of an Assumed Contract or Assumed Lease is not
             guaranteed and is subject to Court approval, (C) prominently display
             the deadline to file a Supplemental Assumption and Assignment
             Objection (as defined below), and (D) prominently display the date,
             time, and location of the Sale Hearing.

      v.     Any Counterparty listed on a Supplemental Assumed Contracts
             Schedule whose Contract or Lease is proposed to be assumed and
             assigned may object to the proposed assumption or assignment of

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             its Assumed Contract or Assumed Lease, the Debtors’ proposed
             Cure Costs (to the extent modified from the previously -stated
             amount), or the ability of a Successful Bidder to provide adequate
             assurance of future performance (a “Supplemental Assumption
             and Assignment Objection”). All Supplemental Assumption and
             Assignment Objections must (A) be in writing, (B) comply with the
             Bankruptcy Code, the Bankruptcy Rules, and the Local Rules,
             (C) state, with specificity, the legal and factual bases thereof,
             including, if applicable, the Cure Costs the Counterparty believes
             are required to cure any alleged defaults under the relevant Assumed
             Contract or Assumed Lease, and (D) no later than 14 days from the
             date of service of such Supplemental Assumption and Assignment
             Notice, (1) be filed with the Court and (2) be served on the
             Assumption and Assignment Objection Notice Parties. Each
             Supplemental Assumption and Assignment Objection, if any, shall
             be resolved in the same manner as an Assumption and Assignment
             Objection.

 f.   Reservation of Rights. The inclusion of an Assumed Contract, an
      Assumed Lease, or, in each case, Cure Costs with respect thereto on a
      Potential Assumption and Assignment Notice, Proposed Assumption and
      Assignment Notice, Potential Assumed Contracts Schedule, Proposed
      Assumed Contracts Schedule, Supplemental Assumption and Assignment
      Notice, or Supplemental Assumed Contracts Schedule shall not constitute,
      nor be deemed, a determination or admission by the Debtors, the Successful
      Bidder(s), or any other party in interest that such Contract or Lease is an
      executory contract or unexpired lease within the meaning of the Bankruptcy
      Code. The Debtors reserve all of their rights, claims, and causes of action
      with respect to each Assumed Contract and Assumed Lease listed on a
      Potential Assumption and Assignment Notice, Proposed Assumption and
      Assignment Notice, Supplemental Assumption and Assignment Notice,
      Potential Assumed Contracts Schedule, Proposed Assumed Contracts
      Schedule, or Supplemental Assumed Contracts Schedule. The Debtors’
      inclusion of any Assumed Contract or Assumed Lease on a Potential
      Assumption and Assignment Notice, Proposed Assumption and
      Assignment Notice, Supplemental Assumption and Assignment Notice,
      Potential Assumed Contracts Schedule, Proposed Assumed Contracts
      Schedule, or Supplemental Assumed Contracts Schedule shall not be a
      guarantee that such Assumed Contract or Assumed Lease ultimately would
      be assumed or assumed and assigned.




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                                         Basis for Relief

A.     The Bidding Procedures are Fair and Appropriate and Should Be Approved

       34.     The Bidding Procedures are specifically designed to promote what courts have

deemed to be the paramount goal of any proposed sale of property of a debtor’s estate: maximizing

the value of sale proceeds received by the estate. See In re Mushroom Transp. Co., 382 F.3d 325,

339 (3d Cir. 2004) (finding that a debtor had a fiduciary duty to maximize the value of the estate’s

assets); Off. Comm. of Unsecured Creditors of Cybergenics Corp. v. Chinery, 330 F.3d 548, 573

(3d Cir. 2003) (same); Four B. Corp. v. Food Barn Stores, Inc. (In re Food Barn Stores, Inc.), 107

F.3d 558, 564–65 (8th Cir. 1997) (recognizing that the main goal of any proposed sale of property

of a debtor’s estate is to maximize value). Courts uniformly recognize that procedures established

to enhance competitive bidding are consistent with the fundamental goal of maximizing value of

a debtor’s estate. See Calpine Corp. v. O’Brien Env’t Energy, Inc. (In re O’Brien Env’t Energy,

Inc.), 181 F.3d 527, 536–37 (3d Cir. 1999) (noting that bidding procedures that promote

competitive bidding provide a benefit to a debtor’s estate); In re Psychrometric Sys., Inc., 367 B.R.

670, 676 (Bankr. D. Colo. 2007) (recognizing the “strong policy favoring competitive bidding”

for sales in bankruptcy proceedings (citations omitted)); Off. Comm. of Subordinated Bondholders

v. Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 659 (S.D.N.Y. 1992) (observing

that sale procedures “encourage bidding and . . . maximize the value of the debtor’s assets”).

       35.     The Bidding Procedures provide for an orderly, uniform, and appropriately

competitive process through which interested parties may submit offers to purchase the Bid Assets.

Given the time constraints, the Debtors, with the assistance of their advisors, have structured the

Bidding Procedures to promote active bidding by interested parties and to elicit the highest or

otherwise best offer(s) reasonably available for the Bid Assets.         Additionally, the Bidding

Procedures would allow the Debtors to conduct the Auction in a fair and transparent manner that

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would encourage participation by financially capable bidders with demonstrated ability to

consummate a timely Sale Transaction. Finally, the Bidding Procedures explicitly provide that

the net proceeds of any sale pursuant to the Bidding Procedures shall, after paying in full in cash

all DIP Obligations and Prepetition Secured Obligations, be deposited into a segregated account

to fund the Wind-Down Budget before repayment of any 507(b) Claims or any other claims against

the Debtors. Accordingly, at the closing of a Sale Transaction, the Debtors, after paying in full in

cash all DIP Obligations and Prepetition Secured Obligations, expect to have sufficient cash to

administer the wind-down of the Debtors’ estates subsequent to the closing of a Sale Transaction.

       36.     This court routinely approves procedures similar to the proposed Bidding

Procedures in connection with chapter 11 asset sales. See, e.g., In re Express, Inc., No. 24-10831

(KBO) (Bankr. D. Del. June 6, 2024) [D.I. 427]; In re Amyris, Inc., No. 23-11131 (TMH) (Bankr.

D. Del. Dec. 20, 2023) [D.I. 969]; In re Kidde-Fenwal, Inc., No. 23-10638 (LSS) (Bankr. D. Del.

Dec. 12, 2023) [D.I. 735]; In re Proterra Inc., No. 23-11120 (BLS) (Bankr. D. Del. Sept. 7, 2023)

[D.I. 218]; In re KDC Agribusiness LLC, No. 23-10786 (CTG) (Bankr. D. Del. July 20, 2023) [D.I.

208]; In re Aero Farms, Inc, No. 23-10737 (MFW) (Bankr. D. Del. July 20, 2023) [D.I. 191]; In

re Fast Radius, Inc., No. 22-11051 (JKS) (Bankr. D. Del. Nov. 14, 2022) [D.I. 77]; In re Armstrong

Flooring, Inc., No. 22-10426 (MFW) (Bankr. D. Del. May 31, 2022) [D.I. 233]; In re Ector Cnty.

Energy Ctr., LLC, No. 22-10320 (JTD) (Bankr. D. Del. May 6, 2022) [D.I. 136]. Accordingly, the

Bidding Procedures should be approved because, under the circumstances, they are reasonable,

appropriate, and in the best interests of the Debtors, their estates, and all parties in interest.

B.     The Designation of the Stalking Horse Bidder and the Offering of the Bid Protections
       Have Sound Business Purposes and Should Be Approved

       37.     Recognizing the Stalking Horse Bidder’s expenditure of time, energy and resources

in connection with the proposed transaction set forth in the Stalking Horse APA, and the benefit


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that those efforts provided to the Debtors, their estates and creditors, and all other parties in

interest, the Debtors agreed to provide the Bid Protections to the Stalking Horse Bidder, payable

if the Debtors consummate a sale pursuant to a Qualified Bid other than the Stalking Horse Bid (if

the assets subject to such sale include those to which the Stalking Horse Bid relates ).

       38.     Approval of bid protections in connection with sales pursuant to section 363 of the

Bankruptcy Code has become an established practice in chapter 11 cases. The Third Circuit has

held that the administrative expense provisions of section 503(b) of the Bank ruptcy Code govern

the standard for approval of bid protections in the bankruptcy sale context. Accordingly, bid

protections must provide an actual benefit to a debtor’s estate and be necessary to preserve the

value of estate assets. See In re O’Brien Env’t Energy, Inc., 181 F.3d at 533–35; In re Reliant

Energy Channelview L.P., 594 F.3d 200, 208–09 (3d Cir. 2010) (holding that the business

judgment rule may not be used as an alternative to the administrative expenses section of the

Bankruptcy Code as a basis for approving certain bid protections). Whether a proposed break-up

fee benefits the estate depends on the “totality of the circumstances” and ultimately requires “a

judgment call about whether the proposed fee’s potential benefits to the estate outweigh any

potential harms.” In re Energy Future Holdings Corp., 904 F.3d 298, 314 (3d Cir. 2018).

       39.     The Third Circuit has identified several instances in which bid protections in the

form of a break-up fee or expense reimbursement may be necessary to preserve the value of estate

assets. First, a break-up fee or expense reimbursement may be necessary to preserve the value of

a debtor’s estate if assurance of the fee “promote[s] more competitive bidding, such as by inducing

a bid that otherwise would not have been made and without which bidding would have been

limited.” In re O’Brien Env’t Energy, Inc., 181 F.3d at 537. Second, “if the availability of break-

up fees and expenses were to induce a bidder to research the value of the debtor and convert the



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value to a dollar figure on which other bidders can rely, the bidder may have provided a benefit to

the estate by increasing the likelihood that the price at which the debtor is sold will reflect its true

worth.” Id. Third, such bid protections could preserve an estate’s value by “assuring that a bidder

‘adhered to its bid rather than abandoning its attempt to purchase . . . in the event that the

Bankruptcy Court required an auction for [the] sale’ of the relevant asset.” In re Energy Future

Holdings Corp., 904 F.3d at 314 (quoting In re Reliant Energy Channel View L.P., 594 F.3d at

207).

        40.     Here, the Bid Protections would satisfy these factors. As for the first factor, the

Debtors only offered the Bid Protections to the extent that they believe, in the exercise of their

business judgment and consistent with their fiduciary duties, that offering these protections would

enhance and incentivize bidding. The Bid Protections have enabled the Debtors to secure an

adequate floor for the Bid Assets and ensure that competing bids be materially higher or otherwise

better than the Stalking Horse Bid, benefiting the Debtors’ estates and stakeholders. Moreover,

the Stalking Horse Bidder would not agree to hold out its bid and act as a stalking horse without

Court approval of the Bid Protections; thus, the Debtors could risk losing out on the opportunity

to obtain the highest or otherwise best offer for the Bid Assets and would certainly lose out on the

downside protection the Stalking Horse Bid would provide.

        41.     Moreover, for the reasons set forth in the Rifkin Declaration, the Stalking Horse

APA and the Bid Protections are customary and usual under the circumstances and were negotiated

at arm’s length. The Bid Protections would make up only a small percentage of the price for the

Bid Assets that the Stalking Horse Bidder has offered⎯the Break-Up Fee, for instance, represents

only approximately one percent (1%) of the consideration offered by the Stalking Horse Bidder.

In sum, the Debtors’ ability to offer the Bid Protections enables them to ensure the sale of the Bid



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Assets at a price they believe to be fair, while, at the same time, providing them with the potential

to achieve an even greater benefit to the Debtors’ estates in the form of a higher or otherwise better

offer for the Bid Assets.

       42.     This Court has approved protections similar to the Bid Protections proposed here

as reasonable. See, e.g., In re FTX Trading Ltd., No. 22-11068 (JTD) (Bankr. D. Del. Jan. 12,

2023) [D.I. 487] (approving a break-up fee of up to 3.0% of the purchase price and expense

reimbursement of up to 0.5% of the stalking horse bid, not to exceed $1.25 million); In re

Armstrong Flooring, Inc., No. 22-10426 (MFW) (Bankr. D. Del. May 31, 2022) [D.I. 233]

(authorizing debtors to grant break-up fee and expense reimbursement amount in the aggregate not

to exceed 3.0% of the cash portion of the purchase price); In re Ector Cnty. Energy Ctr., LLC, No.

22-10320 (JTD) (Bankr. D. Del. May 6, 2022) [D.I. 136] (approving break -up fee of 3.0% of the

stalking horse bid plus expense reimbursements of up to 0.5% of the stalking horse bid); In re

Valeritas Holdings, Inc., No. 20-10290 (LSS) (Bankr. D. Del. Mar. 6, 2020) [D.I. 129] (approving

a break-up fee of up to 3.0% of the purchase price and expense reimbursement of up to $1 million);

In re Celadon Grp., Inc., No. 19-12606 (KBO) (Bankr. D. Del. Jan. 6, 2020) [D.I. 218] (authorizing

the debtors to grant a break-up fee of up to 3.0% of the purchase price and an expense

reimbursement of up to 1.5% of the purchase price). Accordingly, the Debtors submit that the Bid

Protections will be necessary to preserve the value of the estate, are fair and appropriate under the

circumstances, and therefore should be approved.

C.     The Potential Sale Transaction(s) Satisfy the Requirements of Section 363 of the
       Bankruptcy Code

       43.     Ample authority exists for approval of the potential Sale Transaction(s)

contemplated by this Motion. Section 363(b)(1) of the Bankruptcy Code empowers a court to

allow a debtor to “use, sell, or lease, other than in the ordinary course of business, prope rty of the


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estate.” 11 U.S.C. § 363(b)(1). A debtor’s decision to use, sell, or lease assets outside the ordinary

course of business, however, must be based upon a “sound business purpose” of the debtor. In re

ICL Holding Co., 802 F.3d 547, 551 (3d Cir. 2015); see also In re Lionel Corp. (“Lionel”), 722

F.2d 1063, 1070 (2d Cir. 1983) (holding that the debtor must articulate a “business justification”

to satisfy section 363(b) of the Bankruptcy Code). This Court adopted the Second Circuit’s Lionel

decision, such that courts deciding whether a debtor satisfied the business judgment standard must

consider “all salient factors pertaining to the proceeding.” In re Montgomery Ward Holding Corp.,

242 B.R. 147, 153–54 (D. Del. 1999) (quoting Lionel). The business judgment standard “is not a

difficult standard to satisfy,” and merely requires a court to find that “a reasonable business person

would make a similar decision under similar circumstances.” Cf. In re AbitibiBowater Inc., 418

B.R. 815, 831 (Bankr. D. Del. 2009) (applying the business judgment standard in the context of

section 365 of the Bankruptcy Code); see also In re Network Access Sols., Corp., 330 B.R. 67, 74

(Bankr. D. Del. 2005) (“There is, however, no discernable difference in the . . . standard for

approval under section[s] 363 and 365 [of the Bankruptcy Code].” (citation omitted) ).

        44.     Moreover, section 105(a) of the Bankruptcy Code confers a bankruptcy court with

broad equitable powers to confer relief in alignment with bankruptcy policies.               See In re

Combustion Eng’g, Inc., 391 F.3d 190, 235–36 (3d Cir. 2004) (noting that section 105 of the

Bankruptcy Code “has been construed to give a bankruptcy court ‘broad authority’ to provide

equitable relief appropriate to assure the orderly conduct of reorganization proceedings” (citing

United States v. Energy Res. Co., 495 U.S. 545, 549 (1990))); In re Nixon, 404 F. App’x 575, 578

(3d Cir. 2010) (“It is well settled that the court’s power under § 105(a) is broad.” (citation omitted));

In re Nortel Networks, Inc., 532 B.R. 494, 554 (Bankr. D. Del. 2015) (“The Third Circuit has

construed [section 105 of the Bankruptcy Code] to give bankruptcy courts ‘broad authority’ to



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provide appropriate equitable relief to assure the orderly conduct of reorganization proceedings,

and to ‘craft flexible remedies that, while not expressly authorized by the Code, effect the result

the Code was designed to obtain.’” (citation omitted)); Patrick v. Dell Fin. Servs., L.P. (In re

Patrick), 344 B.R. 56, 58 (Bankr. M.D. Pa. 2005) (“There is no doubt that § 105(a) is a ‘powerful

[and] versatile tool’ designed to empower bankruptcy courts to fashion orders in furtherance of the

Bankruptcy Code.” (quoting Joubert v. ABN AMRO Mortg. Grp., Inc. (In re Joubert), 411 F.3d

452, 455 (3d Cir. 2005))).

       i.      The Debtors Have Demonstrated a Sound Business Justification for the
               Potential Sale Transaction(s)

       45.     A strong business justification exists for the sale of the Bid Assets as described

herein. Exploring an orderly but expeditious sale of the Bid Assets is critical to maximizing the

value of the Debtors’ estates and recoveries for the Debtors’ economic stak eholders. To that end,

the DIP Milestones expressly require that the Debtors timely consummate any Sale Transaction

by no later than December 12, 2024. Additionally, the Debtors believe that any Sale Transaction

consummated in accordance with the Bidding Procedures would produce fair and reasonable

purchase prices for the Bid Assets.

       46.     The Bidding Procedures were carefully designed to facilitate a flexible, robust, and

competitive Bidding Process. The Bidding Procedures provide an appropriate framework for the

Debtors to review, analyze, and compare all bids received to determine which bids are in the best

interests of the Debtors’ estates and their economic stakeholders. Any transaction governed by

the Bidding Procedures undoubtedly would serve the important objectives of obtaining a fair and

reasonable purchase price for the Bid Assets, along with the highest or otherwise best value for

the Bid Assets, which would inure to the benefit of all parties in interest in the Chapter 11 Cases.




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       47.       Further, the Stalking Horse Bid is an offer to purchase the Bid Assets for a price that

the Debtors, with the assistance of their advisors, have determined to be fair and reasonable. Given

that the Stalking Horse Bid, together with the Bid Protections, will serve a s a floor for Qualified

Bids for the Bid Assets, the Debtors are confident that the sale process will culminate in the Debtors’

obtaining the highest or otherwise best value for the applicable Assets.

       48.       Finally, nothing in the Bidding Procedures requires the Debtors’ board of directors

to take any action, or to refrain from taking any action, with respect to the Bidding Procedures, to

the extent that the Debtors’ board of directors determines that taking such ac tion, or refraining

from taking such action, is required to comply with applicable law or its fiduciary duties under

applicable law, thereby allowing the Debtors to pivot to an alternative transaction.

       49.       For the foregoing reasons, the Debtors submit that a strong business justification

exists for approving the Sale Transaction(s) and related relief requested herein.

       ii.       The Noticing Procedures Are Reasonable and Appropriate

       50.       The Noticing Procedures described above are reasonably calculated to provide all

of the Debtors’ known relevant creditors and all other parties in interest (including parties

interested in purchasing the Bid Assets and parties with potential liens on or claims against the Bid

Assets) with adequate, timely notice of, among other things, the potential Sale Transaction(s),

Bidding Procedures, Auction, and Sale Hearing.

D.     Each Successful Bidder Should Be Entitled to the Protections of Section 363(m) of the
       Bankruptcy Code

       51.       Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section 363(b)

is later reversed or modified on appeal. Specifically, section 363(m) of the Bankrup tcy Code states

the following:


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               The reversal or modification on appeal of an authorization under
               [section 363(b) of the Bankruptcy Code] . . . does not affect the
               validity of a sale . . . to an entity that purchased . . . such property in
               good faith, whether or not such entity knew of the pendency of the
               appeal, unless such authorization and such sale . . . were stayed
               pending appeal.

11 U.S.C. § 363(m). Section 363(m) of the Bankruptcy Code “reflects the . . . ‘policy of not only

affording finality to the judgment of the bankruptcy court, but particularly to give finality to those

orders and judgments upon which third parties rely.’” In re Abbotts Dairies of Pa., Inc., 788 F.2d

143, 147 (3d Cir. 1986) (quoting Hoese Corp. v. Vetter Corp. (In re Vetter Corp.), 724 F.2d 52,

55 (7th Cir. 1983)); see also United States v. Salerno, 932 F.2d 117, 123 (2d Cir. 1991) (noting

that section 363(m) of the Bankruptcy Code furthers the policy of finality in bankruptcy sales and

“assists bankruptcy courts in maximizing the price for assets sold in such proceedings”).

       52.     Although the Bankruptcy Code does not define “good faith,” the Third Circuit has

held that “the phrase encompasses one who purchases in ‘good faith’ and for ‘value.’” In re

Abbotts Dairies of Pa., Inc., 788 F.2d at 147. A good-faith determination is based on the facts of

each case, with a focus on the “integrity of [a bidder’s] conduct in the course of the sale

proceedings.” Id.; see also Pursuit Cap. Mgmt. Fund I, L.P. v. Burtch (In re Pursuit Cap. Mgmt.,

L.L.C.), 874 F.3d 124, 135 (3d Cir. 2017); In re Colony Hill Assocs., 111 F.3d 269, 276 (2d Cir.

1997) (citations omitted). To constitute lack of good faith, a purchaser’s conduct in connection

with a sale must usually amount to “fraud, collusion between the purchaser and other bidders or

the trustee, or an attempt to take grossly unfair advantage of other bidders.” Id. (quoting In re

Rock Indus. Mach. Corp., 572 F.2d 1195, 1198 (7th Cir. 1978)).

       53.     The Debtors submit that the Stalking Horse Bidder, or any Successful Bidder,

would be a “good faith purchaser” within the meaning of section 363(m) of the Bankruptcy Code.

The Debtors and the Stalking Horse Bidder have entered into the Stalking Horse APA in good


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faith and through extensive arm’s-length negotiations. See Rikfin Decl. at ¶ 14. Indeed, the

Stalking Horse Bidder and the Debtors have engaged separate counsel and other professional

advisors to represent their respective interests in the negotiation of the Stalking Horse APA and in

the sale process generally. To the best of the Debtors’ knowledge, information, and belief, no party

has engaged in any conduct that would cause or permit the Stalking Horse APA to be set aside

under section 363(m) of the Bankruptcy Code.

       54.     Further, as set forth above, the Bidding Procedures are designed to produce a fair

and transparent competitive Bidding Process. Each Qualified Bidder participating in the Auction

must confirm that it has not engaged in any collusion with respect to the bidding or the sale of any

of the Bid Assets. See Bidding Proc. § 2(b). Any asset purchase agreement with a Successful

Bidder executed by the Debtors would be negotiated at arm’s-length and in good faith.

Accordingly, the Debtors seek a finding that any Successful Bidder under the Bidding Procedures

is a good faith purchaser and is entitled to the full protections afforded by section 363(m) of the

Bankruptcy Code.

       55.     Based on the foregoing, the Debtors submit that the Debtors’ entrance into any Sale

Transaction pursuant to the Bidding Procedures is a sound exercise of the Debtors’ business

judgment and should be approved as a good faith transaction.

E.     The Bid Assets Should Be Sold Free and Clear of Liens, Claims, Interests, and
       Encumbrances Under Section 363(f) of the Bankruptcy Code

       56.     In the interest of attracting the best offers, the Bid Assets should be sold free and

clear of any and all liens, claims, interests, and other encumbrances, in accordance with section

363(f) of the Bankruptcy Code, with any such liens, claims, interests, and encumbrances attaching

to the proceeds of the applicable sale. Section 363(f) of the Bankruptcy Code authorizes a debtor




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to sell assets free and clear of liens, claims, interests, and encumbrances of an entity other than the

estate if any one of the following conditions is satisfied:

                (1)    applicable non-bankruptcy law permits sale of such property
                       free and clear of such interest;
                (2)    such entity consents;
                (3)    such interest is a lien and the price at which such property is
                       to be sold is greater than the value of all liens on such
                       property;
                (4)    such interest is in bona fide dispute; or
                (5)    such entity could be compelled, in a legal or equitable
                       proceeding, to accept a money satisfaction of such interest.

11 U.S.C. § 363(f); see also In re Kellstrom Indus., Inc., 282 B.R. 787, 793 (Bankr. D. Del. 2002)

(“Section 363(f) is written in the disjunctive, not the conjunctive, and if any of the five conditions

are met, the debtor has the authority to conduct the sale free and clear of all liens.” (citation

omitted)); In re Boy Scouts of Am., 642 B.R. 504, 568 (Bankr. D. Del. 2022), supplemented, No.

20-10343 (LSS), 2022 WL 20541782 (Bankr. D. Del. Sept. 8, 2022), aff’d, 650 B.R. 87 (D. Del.

2023).

         57.    Section 363(f) of the Bankruptcy Code is supplemented by section 105(a) of the

Bankruptcy Code, which provides that “[t]he Court may issue any order, process or judgment that

is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U .S.C.

§ 105(a); see also In re Trans World Airlines, Inc., No. 01-0056 (PJW), 2001 WL 1820325, at *8

(Bankr. D. Del. 2001) (highlighting the bankruptcy courts’ equitable authority to authorize the sale

of estate assets free and clear), aff’d sub nom. In re Trans World Airlines, Inc., 322 F.3d 283 (3d

Cir. 2003).

         58.    The Debtors submit that the sale of the Bid Assets free and clear of liens, claims,

interests, and encumbrances would satisfy one or more of the requirements under section 363(f)

of the Bankruptcy Code. For example, to the extent that a party objects to a Sale Transaction on



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the basis that it allegedly holds a prepetition lien or encumbrance on the subject Bid Assets, the

Debtors believe that any party could be compelled to accept a monetary satisfaction of such claims,

under section 363(f)(5) of the Bankruptcy Code, or that such lien is bona fide dispute under section

363(f)(4) of the Bankruptcy Code.

        59.    Moreover, the Debtors have sent or will send the Sale Notice to any purported

prepetition lienholders. If such lienholders do not object to a Sale Transaction, then their consent

should be presumed. Accordingly, the Debtors request that, unless a party asserting a prepetition

lien, claim, interest, or encumbrance on any of the Bid Assets (other than those assumed or

permitted, if any, in connection with one or more Sale Transactions) timely and properly objects

to this Motion, such party shall be deemed to have consented to any Sale Transaction approved at

the Sale Hearing. See Hargrave v. Twp. of Pemberton (In re Tabone, Inc.), 175 B.R. 855, 858

(Bankr. D.N.J. 1994) (by not objecting to a sale motion, a creditor is deemed to consent to the

relief requested therein); accord In re BSA, 642 B.R. at 569 (citing In re Tabone, Inc., 175 B.R. at

858).

        60.    The purpose of a sale order purporting to authorize the transfer of assets free and

clear of all claims, liens, interests, and encumbrances would be defeated if claimants could

thereafter use the transfer as a basis to assert claims against a purchaser arising from a seller’s pre-

sale conduct. Moreover, without such assurances, potential bidders may choose not to participate

in the Auction, to the detriment of the Debtors’ economic stakeholders. Accordingly, the Debtors

request that the Court authorize the sale of the Bid Assets free and clear of any liens, claims,

interests, and encumbrances in accordance with section 363(f) of the Bankruptcy Code, subject to

such liens, claims, interests, and encumbrances (including all DIP Liens, Adequate Protection

Liens, Prepetition Liens, DIP Obligations, Adequate Protection Payments, Prepetition Secured



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Obligations, and DIP Superpriority Claims (as each is defined in the DIP Motion)) attaching to the

proceeds thereof in the same order of relative priority and with the same validity, force, and effect

as prior to such sale.

F.     The Assumption and Assignment of Executory Contracts and Unexpired Leases
       Should Be Authorized

       61.     Section 365(a) of the Bankruptcy Code provides that a debtor in possession,

“subject to the court’s approval, may assume or reject any executory contract or unexpired lease

of the debtor.” 11 U.S.C. § 365(a). The decision to assume or reject an unexpired lease is a matter

within the “business judgment” of the debtor. Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp.

(In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989); see also Mission Prod. Holdings, Inc.

v. Tempnology, LLC, 139 S. Ct. 1652, 1658 (2019) (noting that a bankruptcy court will generally

approve a debtor’s choice to assume or reject an executory contract under the deferential business

judgment rule (citation omitted)).

       62.     Any assumption of the Proposed Assumed Contracts is an exercise of the Debtors’

sound business judgment because the transfer of such Contracts and Leases is necessary to the

Debtors’ ability to obtain the best value for their Bid Assets. The assumption and a ssignment of

Proposed Assumed Contracts is a critical element of the value of the Bid Assets. Given that the

ability to consummate an agreed Sale Transaction is critical to the Debtors’ efforts to maximize

value for their estates and stakeholders, the Debtors’ assumption of Proposed Assumed Contracts

is an exercise of sound business judgment and, therefore, should be approved.

       63.     The consummation of any Sale Transaction involving the assignment of a Proposed

Assumed Contract would be contingent upon the Debtors’ compliance with the applicable

requirements of section 365 of the Bankruptcy Code. Section 365(b)(1) of the Bankruptcy Code

requires that any outstanding defaults under the Contracts and Leases to be assumed be cured and


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that the Debtors provide adequate assurance that such defaults would be promptly cured. The

Debtors’ assumption and assignment of Proposed Assumed Contracts would be contingent upon

payment of the Cure Costs and effective only upon the closing of an applicable Sale Transaction

or any later applicable effective date. As set forth above, the Debtors propose to file with the Court

and serve on each Counterparty a Potential Assumption and Assignment Notice, which would set

forth the Debtors’ good faith calculations of Cure Costs with respect to each Contract and Lease

listed on the Potential Assumed Contracts Schedule. As a result, Counterparties would have a

meaningful opportunity to raise any objections to the proposed assumption of their respective

Contracts and Leases in advance of the applicable Sale Hearing.

       64.     Pursuant to section 365(f)(2) of the Bankruptcy Code, a debtor may assign an

executory contract if “adequate assurance of future performance by the assignee of such contract

or lease is provided.” The meaning of “adequate assurance of future performance” depends on the

facts and circumstances of each case, but should be given “practical, pragmatic construction.” In

re Fleming Cos., 499 F.3d 300, 307 (3d Cir. 2007) (citation omitted). “Although no single solution

will satisfy every case, the required assurance will fall considerably short of an absolute guarantee

of performance.” Cinicola v. Scharffenberger, 248 F.3d 110, 120 n.10 (3d Cir. 2001) (quoting In

re Carlisle Homes, Inc., 103 B.R. 524, 538 (Bankr. D.N.J. 1988) (citation omitted)).

       65.     As set forth above and in the Bidding Procedures, for a bid to qualify as a Qualified

Bid, a Potential Bidder must include with its bid information regarding its ability (and the ability

of its designated assignee, if applicable) to perform under applicable Prop osed Assumed Contracts.

Each affected Counterparty would have an opportunity to object to the ability of the Successful

Bidder to provide adequate assurance as provided in the Bidding Procedures Order. Further, the

Debtors propose to file with the Court a Proposed Assumption and Assignment Notice, which



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would set forth a list of the Proposed Assumed Contracts, in advance of the Sale Hearing. To the

extent necessary, the Debtors would present facts at the Sale Hearing to demonstrate the financial

wherewithal, willingness, and ability of the Successful Bid der to perform under the Proposed

Assumed Contracts.

         66.      In addition, to facilitate the assumption and assignment of Proposed Assumed

Contracts, the Debtors further request that the Court find that all anti-assignment provisions

contained therein, whether such provisions expressly prohibit or have the effect of restricting or

limiting assignment of such Assumed Contract or Assumed Lease, are unenforceable and

prohibited pursuant to section 365(f) of the Bankruptcy Code. 8

                     Compliance with Bankruptcy Rule 6004(a) and Waiver of
                             Bankruptcy Rules 6004(h) and 6006(d)

         67.      To implement successfully the relief sought herein, the Debtors request that the

Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that the Court waive the stay imposed by Bank ruptcy

Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other

than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the court

orders otherwise.” Fed. R. Bankr. P. 6004(h). The Debtors further request that the Court waive

the stay imposed by Bankruptcy Rule 6006(d), which provides that an “order authorizing the

trustee to assign an executory contract or unexpired lease under section 365(f) is stayed until the



         8
           Section 365(f)(1) of the Bankruptcy Code provides in part that, “notwithstanding a provision in an
executory contract or unexpired lease of the debtor, or in applicable law, that prohibits, restricts, or conditions the
assignment of such contract or lease, the trustee may assign such contract or lease . . . .” 11 U.S.C. § 365(f)(1). Section
365(f)(3) of the Bankruptcy Code further provides that, “[n]otwithstanding a provision in an executory contract or
unexpired lease of the debtor, or in applicable law that terminates or modifies, or permits a party other than the debtor
to terminate or modify, such contract or lease or a right or obligation under such contract or lease on account of an
assignment of such contract or lease, such contract, lease, right, or obligation may not be terminated or modified under
such provision because of the assumption or assignment of such contract or lease by the trustee.” 11 U.S.C. § 365(f)(3).


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expiration of 14 days after the entry of the order, unless the court orders otherwise.” Fed. R. Bankr.

P. 6006(d).

       68.     The Debtors have already commenced the marketing and sale process, and have

entered into the Stalking Horse APA with the Stalking Horse Bidder, to maximize value for their

estates and stakeholders. Accordingly, the Debtors request that the Bidding Procedures Order, the

Sale Order, and any order authorizing the assumption and assignment of a Proposed Assumed

Contract in connection with one or more Sale Transactions be effective immediately upon entry

and that the 14-day stay imposed by Bankruptcy Rules 6004(h) and 6006(d) be waived.

                                               Notice

       69.     Notice of this Motion will be provided to the following parties: (a) the U.S. Trustee;

(b) Choate, Hall & Stewart LLP, as counsel to the ABL Agent; (c) Otterbourg P.C., as counsel to

the Term Agent; (d) counsel to the Committee (if any); (e) counsel to the Stalking Horse Bidder;

(f) the Internal Revenue Service; (g) the United States Attorney’s Office for the District of

Delaware; (h) the state attorneys general for states in which the Debtors conduct business; and

(i) any party identified in section E of the Complex Procedures (collectively, the “Notice Parties”).

A copy of this Motion and any order entered in respect thereof will also be made available on the

Debtors’ Case Information Website located at https://www.cases.ra.kroll.com/BigLots. Based on

the urgency of the circumstances surrounding this Motion and the nature of the relief requested

herein, the Debtors respectfully submit that no other or further notice is required.

                           [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Bidding

Procedures Order and, after the Sale Hearing, the Sale Order, granting the relief requested herein

and such other and further relief as the Court deems just and proper.


Dated: September 9, 2024
       Wilmington, Delaware
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